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11                                    UNITED STATES DISTRICT COURT
12                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                             OAKLAND DIVISION
14                                                           MDL No. 3047
15
      People of the State of California, et al.,             Case Nos. 4:23-cv-05448-YGR
16
              v.                                                      4:23-cv-05885-YGR
17    Meta Platforms, Inc., Instagram, LLC, Meta
      Payments, Inc., Meta Platforms Technologies,                    4:22-md-03047-YGR-PHK
18
      LLC
                                                             Honorable Yvonne Gonzalez Rogers
19

20                                                           META’S REPLY IN SUPPORT OF
      Office of the Attorney General, State of Florida,
                                                             MOTION TO DISMISS THE
      Department of Legal Affairs,
21                                                           MULTISTATE ATTORNEYS GENERAL
              v.                                             COMPLAINT; FLORIDA ATTORNEY
22                                                           GENERAL COMPLAINT; AND
      Meta Platforms, Inc., Instagram LLC
                                                             PERSONAL INJURY PLAINTIFFS’
23
                                                             CONSUMER PROTECTION AND
24    IN RE: SOCIAL MEDIA ADOLESCENT                         MISREPRESENTATION CLAIMS
      ADDICTION/PERSONAL INJURY PRODUCTS                     Hearing:
25    LIABILITY LITIGATION
                                                             Date: April 19, 2024
26    THIS DOCUMENT RELATES TO:                              Time: 9:30 AM
      ALL ACTIONS                                            Place: Oakland, California
27                                                           Judge: Hon. Yvonne Gonzalez Rogers
28
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 1                                               INTRODUCTION
 2           The States’ Opposition fails to overcome the Complaints’ deficiencies identified in Meta’s Motion.
 3   The States’ COPPA claim requires impermissibly and implausibly treating general audience internet
 4   services as “child directed” based on a small fraction of third-party content. And permitting the States’
 5   consumer protection claims would run roughshod over this Court’s prior rulings regarding the reach of
 6   Section 230. The Court has already held that the very features that lie at the core of the States’ claims—
 7   such as the design of algorithms that recommend content and other features that determine whether and
 8   how content is displayed—are barred. Moreover, the States fail to identify even a single case from any
 9   jurisdiction holding that, without more, designing a service in a way that makes the service more appealing
10   to users—i.e., makes more people want to use it or makes people want to use it more frequently—
11   constitutes an unfair business practice. Punishing businesses for allegedly seeking to increase use of the
12   businesses’ services would be an unprecedented and unwarranted expansion of state consumer protection
13   law. For these reasons, and the additional reasons explained below, the Court should grant Meta’s Motion.
14                                             LAW & ARGUMENT
15      I.        THE “CHILD-DIRECTED” COPPA CLAIM SHOULD BE DISMISSED.
16           The States’ procedural objections to Meta’s motion to dismiss their “child-directed” COPPA claim
17   are meritless. And the Attorney Generals’ Opposition (“AG Opp.”) (ECF 599) does not overcome Meta’s
18   showing that they have failed to plead that Instagram or Facebook (or “portions thereof”) are “child-
19   directed.”
20           A.     The State’s Procedural Objections Are Unavailing.
21           Meta’s motion is procedurally proper because it seeks to dismiss an entire cause of action. COPPA
22   provides two distinct causes of action. First, it provides that it is unlawful “for an operator of [an] online
23   service” that is “directed to children to collect personal information from a child in a manner that violates
24   the [COPPA] regulations.” 15 U.S. Code § 6502. Second, it provides that it is unlawful for “any operator
25   that has actual knowledge that it is collecting personal information from a child[] to collect personal
26   information from a child in a manner that violates the regulations.” Id. Those causes of action operate
27   independently from one another and the proof required to establish a violation of each is entirely different.
28   The Opposition itself recognizes this, describing the States’ child-directed claim as an “independent

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 1   ground” for applying COPPA, separate from their “actual knowledge” claim. See AG Opp. 5.
 2             Here, the States assert both claims, and the Complaint clearly distinguishes between the allegations
 3   supporting each claim, see Compl. ¶¶ 642–745 (actual knowledge); id. ¶¶ 746–805 (child-directed). Those
 4   are two distinct causes of action, and so it is appropriate to seek dismissal of just one of them. Indeed, by
 5   combining two separate causes of action in a single count, the States have acted in “complete disregard of
 6   the principle that separate, discrete causes of action should be [pled] in separate counts.” 1
 7             B.     The States Misapply the Child-Directed Standard.
 8             While the States assert that Instagram and Facebook “both as a whole, as well as portions thereof,
 9   are child-directed,” AG Opp. 8, they have not adequately pled and cannot establish either.
10                    1.      The States Cannot Establish That the Services “As A Whole” Are Child-Directed.

11             As Meta’s Motion showed, each of the factors set forth in the COPPA rules supports the conclusion

12   that Instagram and Facebook are not child-directed “as a whole.” See Motion to Dismiss (“Mot.”) 9–19.

13             Subject Matter. The States do not dispute that the “subject matter” of Facebook and Instagram—

14   services that facilitate the sharing of user-generated content and social connections online—is appealing

15   to all ages, and is not specifically directed to children. Instead, the States engage in a sleight of hand,

16   pointing to a tiny fraction of allegedly child-oriented content that third parties have made available on

17   Instagram. But the presence of some child-oriented user-generated content does not establish that these

18   services are child-oriented, and interpreting COPPA to impose liability based on content posted by third

19   parties would be inconsistent with Section 230. See id. 9–12.

20             FTC guidance (although non-binding) recognizes this distinction between an individual creator

21   who posts content directed to children and the service on which the creator posts. Specifically, the COPPA

22   FAQs contemplate that a creator may post child-directed content on a “platform that hosts a wide variety

23   of user-generated content,” and make clear that the platform itself nonetheless remains “general audience.”

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     1
25     Cesnik v. Edgewood Baptist Church, 88 F.3d 902, 905 (11th Cir. 1996). The cases cited by the States
     are not to the contrary. In Dermansky v. Young Turks, Inc., 2023 WL 8884364, at *1 (C.D. Cal. Nov. 3,
26   2023), the plaintiff asserted a single cause of action, and the defendant moved to dismiss as to some but
     not all of the factual circumstances allegedly supporting the claim. Id. at *1 (C.D. Cal. Nov. 3, 2023)
27   (seeking dismissal of copyright claim as to some but not all alleged acts of infringement). Similarly, in
     In re Netopia, Inc., 2005 WL 3445631 at *3 (N.D. Cal. Dec. 15, 2005), the defendants sought only to
28   dismiss certain allegations, not an entire cause of action.
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 1   COPPA FAQ D.2.            The FTC also recognized this distinction in its settlement with YouTube,
 2   acknowledging that YouTube is a “general audience … user-generated video-sharing platform,” despite
 3   the presence of some child-directed content on its service. 2 In short, the States fail to allege that the subject
 4   matter of Instagram or Facebook themselves is child-directed, and their scattershot allegations regarding
 5   a small amount of content posted by third parties on the services do not change this fact.
 6             Language and Visual and Audio Content. The Opposition makes no effort to dispute Meta’s
 7   showing that the Complaint does not contain any allegations whatsoever concerning the “visual content,
 8   … music or other audio content, or language or other characteristics of” Instagram and Facebook
 9   themselves. 16 CFR § 312.2; Mot. 18.
10             Intended Audience. The States do not dispute that Facebook and Instagram’s terms of service
11   prohibit users under the age of 13. Despite this, the States argue that children are an intended audience of
12   these services based on allegations that Meta as a company sought to reach children, studied their online
13   habits, and monitored data concerning potential under-13 users. 3 AG Opp. 9. But Meta addressed these
14   very allegations in its Motion, and the States do not respond. Mot. 16. For example, the Opposition
15   quotes allegations about the “acquisition” and “pursu[it]” of under-13 users, despite Meta showing that
16   the cited allegations related specifically to Meta’s efforts to develop separate, COPPA-compliant services
17   (such as Instagram Youth and Messenger Kids) for users under 13. AG Opp. 9.
18             Audience Composition. The States also do not address the core problem with their “audience
19   composition” allegations. The Opposition merely points to allegations that Facebook and Instagram have
20   “millions” of users under the age of 13, AG Opp. 10, without any consideration of how this figure
21   compares to Facebook and Instagram’s total user base. But the relevant question under COPPA is not
22   whether some children may use the service despite Meta’s bar against doing so; it is whether the
23   composition of a service’s audience suggests that the service is child-directed. See 16 CFR § 312.2 (child-
24

25
     2
      See Stipulated Order for Permanent Injunction and Civil Penalty Judgment (ECF 5), FTC v. Google LLC
26   and YouTube LLC, Case No. 1-19-cv-02642 (D.D.C. Sept. 10, 2019).
     3
27     To the extent the States rely on allegations that Meta monitored the size of the “under-13 cohort” on
     Instagram (AG Opp. 9), those allegations are at most relevant to the claim that Meta had actual knowledge
28   of the collection of personal information from children, and not plausibly tied to the child-directed factors.

                                                             3
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 1   directed test considers “reliable empirical evidence regarding audience composition”). Because there is
 2   no allegation that a significant proportion—or any specific percentage—of Facebook or Instagram users
 3   are under 13, this factor cuts decisively against the States. See, e.g., 71 Fed. Reg. 13247, 13252 (Mar. 15,
 4   2006) (recognizing that a service may be “general audience” even though it “attract[s] a substantial
 5   number of children under the age of 13”).
 6             “Child-Oriented” Content. The States rely on wholly conclusory allegations to argue that “child-
 7   oriented” content is prevalent across Facebook and Instagram. They claim that the services hosted and
 8   “promote[d] thousands” of (largely unspecified) child-oriented accounts and pages, and also “invest[ed]
 9   in [unspecified] channels” that “yielded” those accounts. AG Opp. 10, 12. But even if this third-party
10   content were relevant to the question whether Instagram or Facebook are themselves child-directed, there
11   is no factual support for any of these conclusions in the Complaint. See Mot. 9.
12             The Complaint does not identify a single “child-oriented” Facebook account. While the States
13   criticize Meta for failing to show that the small number of Instagram accounts they reference are “intended
14   for and consumed” entirely by adults, rather than children, AG Opp. 11, that is not Meta’s burden. Mot.
15   9–10. 4 The States’ allegations do not suffice, among other reasons, because even a cursory examination
16   of the specific accounts referenced in the Complaint demonstrates that the content of the accounts is
17   plainly not directed to children.5 Nor do the States respond to the fact that the simple presence of brands,
18   characters, or content posted by third parties that may be popular with children is not enough to render a
19   service child-directed. Id.
20

21   4
       The States misconstrue COPPA when they assert that “a service may be directed to multiple audiences
22   at once, such as parents and children.” AG Opp. 9. In fact, COPPA sharply distinguishes between child-
     directed services, on the one hand, and “general audience” services, on the other. See Mot. 7–9. To be
23   sure, the COPPA Rules contemplate “mixed audience” services, but “the ‘mixed audience’ category is a
     subset of the ‘directed to children’ category, and a general audience site does not become ‘mixed audience’
24
     just because some children use the site or service.” COPPA FAQ D.4.
25   5
       The Court may properly consider the account content identified by Meta because it is incorporated by
     reference into the Complaint. The States specifically identify the accounts by name and list their URLs,
26
     and rely on them extensively to support their allegations that Instagram hosts numerous “child-oriented”
27   accounts. Because the States put these accounts at issue, nothing requires the Court to blind itself to their
     content in judging the adequacy of the States’ allegations. E.g., Sanders v. The RealReal, Inc., 2021 WL
28   1222625, at *4-5 (N.D. Cal. Mar. 31, 2021) (incorporating by reference documents relied on in complaint).

                                                            4
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 1             “Child-Directed” Advertising. The States argue that Meta cannot dispute their characterization
 2   of “child-directed” advertisements promoting and appearing on Facebook and Instagram. But the States
 3   are not entitled to rely on snippets of advertisements while disregarding the full context and limitations of
 4   what they show. Khoja, 899 F.3d at 1002–03 (plaintiffs may not “select[] only portions of a document
 5   that support their claims, while omitting portions … that weaken—or doom—their claims”). And the
 6   States do not dispute what that context actually shows: video advertisements concerning topics such as
 7   teen parental controls, privacy and security checkups, and video features. None of the cited advertisements
 8   supports the conclusion that either Facebook or Instagram is directed to children. More broadly, the States
 9   fail to address how three advertisements that briefly depict images of children could possibly give rise to
10   an inference that Facebook and Instagram “as a whole” are child-directed. See Mot 14.
11             Child Celebrities. The States’ contention that Meta does not dispute that their allegations
12   concerning child influencers and celebrities, AG Opp. 13, is incorrect. As Meta noted in its Motion, the
13   Complaint identifies only a single account featuring an alleged “child-celebrity.” The States’ remaining
14   allegations consist of nothing more than vague assertions about unnamed Instagram accounts posting
15   unspecified content that “appeal[s] to children under the age of 13.” Id. There is no basis to credit those
16   allegations, much less find them sufficient to support the States’ child-directed theory.
17                     1.     The States Cannot Establish That “Portions” of the Services Are Child-Directed.
18             In an attempt to salvage their claims, the States argue that “portions” of Instagram and Facebook
19   are child-directed. AG Opp. 5, 8. For three separate reasons, that argument fails.
20             First, the States are wrong to label the third-party accounts and pages they identify as “portions”
21   of the Facebook and Instagram services. While COPPA contemplates that a “portion” of a website or
22   service may be directed to children, 15 U.S.C. § 6501(10), user-created accounts and pages are not
23   “portions” of the Facebook and Instagram services for purposes of COPPA. Rather, a “portion” must be
24   a separate area created by the service for children, such as a designated “Kids Club” or “Kids Zone” on a
25   website or a “Kids Shows” tab in a video app.6
26

27   6
         E.g., 144 Cong. Rec. S12741-04 (if “site has a special area for children, then that portion of the site will
28   (continued…)
                                                             5
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               Second, the States are wrong that they can sidestep the child-directed standard simply by framing
 2
     their claim as limited to “portions” of Facebook and Instagram. The COPPA Rule is clear that the same
 3
     multifactor test governs whether a website or online service, or a “portion thereof,” is directed to children.
 4
     See 16 CFR § 312.2 (“In determining whether a web site or online service, or a portion thereof, is directed
 5
     to children, the [FTC] will consider” the statutory list of factors). While the Complaint sets forth
 6
     scattershot allegations regarding a handful of accounts, the States never apply the COPPA Rule’s
 7
     multifactor test to any specifically identified account, page, or other “portion” of Instagram or Facebook. 7
 8
               Third, it is clear that the operator of a “general audience” service is not subject to COPPA merely
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     because an individual account holder posts child-directed content. COPPA FAQ D.2. Rather, the operator
10
     of “a general audience platform that hosts a wide variety of user-generated content” need only comply
11
     with COPPA vis-à-vis that account if it “has actual knowledge that [the account’s] content is directed to
12
     children.” Id. Nowhere do the States allege that Meta had such “actual knowledge” as to any specific
13
     account or page referenced in the Complaint. And, in any event, the States’ claims should be limited to
14
     only those “portions” (if any) as to which the Court finds the States’ allegations sufficient.
15
               The FTC’s COPPA settlement with YouTube is instructive. While the FTC recognized YouTube
16
     as a “general audience” service, it imposed liability based on the allegations that YouTube had actual
17
     knowledge that some of its most popular “channels”—separate sites or services from which YouTube
18
     collected personal information—were directed to children. 8 No such allegations have been made against
19
     Meta: the complaint does not assert that the allegedly child-directed accounts are among the most popular
20
     on Instagram or Facebook, that Meta had actual knowledge any Instagram or Facebook account was child-
21

22

23   be considered to be directed to children”); 64 Fed. Reg. 59893 (“[I]f a general audience site has a distinct
     children’s ‘portion’ or ‘area,’ then the operator would be required to provide the protections of the Rule
24   for visitors to that portion of the site.”); see 16 CFR § 312.4(d) (explaining how notice requirements apply
     to “[a]n operator of a general audience Web site or online service that has a separate children’s area”).
25
     7
       For example, while the States assert that several accounts are dedicated to “children’s cartoons” or
26   feature “popular animated … characters,” AG Opp. 8–9, the use of “animated characters” is just one
     among the many factors set forth in the COPPA Rules, see 16 C.F.R. § 312.2(1).
27   8
      See, e.g., Complaint (ECF 1) (“YT Comp.”) ¶ 5, FTC v. Google LLC and YouTube LLC, Case No. 1-19-
28   cv-02642 (D.D.C. Sept. 4, 2019).

                                                            6
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 1   directed, or that the accounts are akin to individual “channels” that operate as separate websites or online
 2   services. YT Compl. ¶ 20. Moreover, unlike the States, the FTC engaged in “[a]n assessment of the[]
 3   [COPPA Rule] factors” as to each of the channels at issue. Id. ¶ 28.
 4         II.        SECTION 230 LARGELY BARS THE CONSUMER PROTECTION CLAIMS.
 5               A.     Section 230 Bars the Vast Majority of the States’ Claims that the Design of the
                        Instagram and Facebook Services Constitute Unfair or Unconscionable Business
 6
                        Practices.
 7               As explained in the Motion, the States’ unfair and unconscionable practices claims are barred by
 8   Section 230 because they seek to hold Meta liable for quintessential decisions about whether and how to
 9   publish third-party content. Mot. 19–23. Indeed, the Court has already found that the individual features
10   challenged by the States are not actionable under Section 230. See Order Granting in Part and Denying
11   in Part Defendants’ Motion to Dismiss (“Prior Order”) (ECF 430) 16–19. Nothing in the States’
12   Opposition overcomes this straightforward application of the law and the Court’s prior order. 9
13
                        1.      The States’ Allegations About Instagram’s and Facebook’s Overall Design Fail.
14
                 The States first argue that this Court should apply a “holistic” approach to Section 230 by focusing
15
     on the “overall design” of Facebook and Instagram. This ignores that the Court has already applied
16
     Section 230 to bar allegations relating to individual alleged defective features of Facebook and Instagram.
17
     AG Opp. 16. But in any event, whether the challenged design features are viewed “holistically” or
18
     individually, the States’ claims are barred by Section 230. See Mot. 19–21 (analyzing States’ allegations
19
     as a whole); id. 21–22 (analyzing specific features).
20
                 As the States put it in their Opposition, the core of their claims is that Meta violated consumer
21
     protection law by “unfairly designing its Platforms to addict young users and by specifically targeting
22
     young users despite knowing that the Platforms are especially harmful to them.” AG Opp. 16. But those
23
     allegations based on “design” and “targeting” directly challenge Meta’s decisions related to its publishing
24
     of third-party content to these users—such as the design of algorithms that organize content for users and
25
     other decisions about whether and how content is displayed to users. As courts have explained, and this
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     9
      Meta does not seek to dismiss these claims under Section 230 to the extent they are predicated on alleged
28   violations of COPPA. See Mot. 19.

                                                              7
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 1   Court has already held, the “structure and operation of a website,” including “features that are part and
 2   parcel of the overall design and operation of the website … reflect choices about what content can appear
 3   on the website and in what form and thus fall within the purview of traditional publisher functions.” Fields
 4   v. Twitter, Inc., 200 F. Supp. 3d 964, 972 (N.D. Cal. 2016) (cleaned up). At bottom, the States take issue
 5   with how Meta publishes third-party content and want Meta to do it differently—by forcing Meta to
 6   change the order in which third-party content is displayed, the manner in which it is presented, and how
 7   users are alerted to it. That is precisely what Section 230 forbids. See Prior Order 16–19 (Section 230
 8   extends to “editorial decisions and functions ancillary to the decision to make content available”).
 9                  2.      The States’ Allegations About Particular Features Fail.
10          The States next argue that their challenges to specific features of Facebook and Instagram are not
11   barred by Section 230. To start, this argument is predicated on an overly narrow interpretation of Section
12   230, under which its protections would depend on whether Meta needs to “alter” any third-party content
13   to comply with the duties the States seek to impose under consumer protection law. AG Opp. 16. But
14   courts, including this one, have rejected that cramped view of Section 230, recognizing that immunity also
15   applies where imposing liability for a claim would “requir[e] defendants to change how they publish such
16   content.” Prior Order 17 (emphasis added); see also, e.g., Dyroff v. Ultimate Software Grp., Inc., 934
17   F.3d 1093, 1098 (9th Cir. 2019). 10 The States also disregard the Court’s prior order, which held that
18   Section 230 barred materially identical challenges to these precise features. While the States occasionally
19   attempt to manufacture distinctions between the features they challenge and the ones the Court has ruled
20   on, their argument largely boils down to the contention that the Court misapplied the law or committed
21   errors in its prior order. The States’ attempted distinctions fail and the Court’s prior order controls:
22          Infinite scroll and autoplay. The Court previously found that challenges to the design of the
23   infinite scroll and autoplay features “would necessarily require defendants to publish less third-party
24   content” and “inherently limit what defendants are able to publish.” Prior Order 16. The States simply
25
     10
26     For some challenged features, the States’ assertion is simply not true; disabling content’s ephemerality,
     for instance, would alter it. See Prior Order 16 (so finding). For the other challenged features, the States’
27   claims necessarily depend on Meta’s alleged decisions regarding whether and how to display third-party
     content; changing Meta’s algorithms, for example, would change the sequencing of content—a traditional
28   publishing decision. See id. 18–19 (so finding).

                                                           8
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 1   disagree, contending that “Meta could change these features without publishing less third-party content,”
 2   because this change would only limit what “users might see,” not “prohibit any third-party user from
 3   posting.” AG Opp. 20–21 (second and third emphases added). But that misses the Court’s point and is
 4   irrelevant. Section 230 protects decisions about how to publish user content (in the States’ words, those
 5   regarding what “users might see”), not just users’ ability to post it. See, e.g., Barnes v. Yahoo!, Inc., 570
 6   F.3d 1096, 1102 (9th Cir. 2009) (Section 230 precludes liability when “the duty that the plaintiff alleges
 7   the defendant violated derives from the defendant’s status or conduct as a ‘publisher or speaker’”).
 8          Ephemeral content features. The Court previously found that the ephemerality of third-party
 9   content is also covered by Section 230. See Prior Order 16. The States again disagree, arguing that Meta
10   can be forced to disable ephemerality without changing the underlying content. See AG Opp. 21–22. But
11   the Court already dispensed with that argument, finding that “determining the length of content published
12   and how long to publish content are ‘traditional editorial functions’ immune under Section 230, where
13   exercised with regard to third-party content.” Prior Order 16 (citing Barnes, 570 F.3d at 1102). Lemmon
14   v. Snap, Inc. (which the Court already considered) does not suggest a different conclusion, contrary to
15   what the States argue: the “speed filter” at issue there was found to be independent of third-party content
16   and Snap could have satisfied its obligations “without altering the content that Snapchat’s users generate.”
17   Id. 12 (quoting Lemmon v. Snap, Inc., 995 F.3d 1085, 1092 (9th Cir. 2021)). Here, the States’ claims
18   would force Meta to remove ephemeral content, alter the content to be non-ephemeral, or prohibit Meta
19   from publishing ephemeral third-party content in the future—actions protected by Section 230. See, e.g.,
20   Lemmon, 995 F.3d at 1091 (“‘[P]ublication’ generally involves reviewing, editing, and deciding whether
21   to publish or to withdraw from publication third-party content.” (cleaned up)).
22          Notifications. The Court previously found that notifications regarding third-party content are
23   protected by Section 230. Prior Order 18 (citing Dyroff, 934 F.3d at 1093).11 To dispute this, the States
24   argue that the Court misread and misapplied the Ninth Circuit’s decision in Dyroff. AG Opp. 22. They
25

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     11
        As the Motion pointed out, notifications regarding Meta’s own content are shielded by the First
27   Amendment. See Mot. 22 (citing Prior Order 22 (so finding)). The States did not respond to this point in
     their brief, conceding that they do not seek to impose liability on that basis and/or that these allegations
28   would not be actionable.

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 1   argue that their challenge is to the design of the notifications—that they are allegedly too frequent and
 2   disruptive—which does not require Meta to “monitor or remove content.” Id. But again, this argument
 3   improperly challenges Meta’s publishing decisions about when and how to publish third-party content by
 4   providing users with notifications about such content. See, e.g., Fed. Agency of News LLC v. Facebook,
 5   Inc., 432 F. Supp. 3d 1107, 1118 (N.D. Cal. 2020) (Koh, J.) (citing Dyroff to hold that “notifications” are
 6   entitled to Section 230 protection because they “are tools meant to facilitate the communication and
 7   content of others”). The Court correctly applied Section 230 (including Dyroff) to reject this argument,
 8   which is not materially different from the arguments already made by the Personal Injury (“PI”) Plaintiffs.
 9   See ECF 337 at 12 (“liability for these defective ‘tools,’ would not hold Defendants responsible for
10   publishing anything, or require them to monitor the legality of third-party content” (citation omitted)).
11   The Court correctly rejected that mistaken framing then and should do so again now.
12          Algorithms. The Court previously found that, “to the extent plaintiffs challenge defendants’ use
13   of algorithms to determine whether, when, and to whom to publish third-party content, Section 230
14   immunizes defendants” because “these are traditional editorial functions that are essential to publishing.”
15   Prior Order 18–19. The States argue that the Court ignored Ninth Circuit precedent in making this finding
16   because content recommendation algorithms “promot[e], market[], or boost[] content,” which the States
17   assert is not protected by Section 230. AG Opp. 19. But choosing—or “promoting,” “boosting,” or any
18   other synonym—which content to show is at the heart of what Section 230 protects. E.g., Dyroff, 934
19   F.3d at 1098 (finding algorithmic recommendations protected); Force v. Facebook, Inc., 934 F.3d 53, 66
20   (2d Cir. 2019) (rejecting “contention that Facebook’s use of algorithms renders it a non-publisher”); M.P.
21   v. Meta Platforms, Inc., 2023 WL 5984294 (D.S.C. Sept. 14, 2023) (Section 230 barred challenges to
22   “algorithms and internal architecture of social media sites”). And none of the purportedly contrary
23   precedent cited by the States concerned content algorithms.
24          Likes. The Court previously found that “notifications that someone has commented on or liked a
25   user’s post” are shielded by Section 230. Prior Order 18. As Meta explained, “[t]hat reasoning” applies
26   whether the “Like” is presented with an alert-style notification or by displaying the information on the
27   post itself. See Mot. 22. The States respond that Section 230 does not apply to their claims to the extent
28   they challenge Meta’s alleged choice to display total “Like” counts for users. AG Opp. 18. But the States

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 1   offer no reason why Section 230’s applicability would depend on whether Meta displays Likes
 2   individually or tallies them up. Likes are user-generated content: as the States themselves allege, Likes
 3   are a “way for users to express validation or approval” of third-party content. Compl. ¶ 227. Accordingly,
 4   Meta’s decision whether and how to display that third-party content (including total Like count) is
 5   protected by Section 230. Courts, including the Ninth Circuit, have repeatedly held that the aggregation
 6   of user reactions in this manner is covered by Section 230. See, e.g., Kimzey v. Yelp! Inc., 836 F.3d 1263,
 7   1270 (9th Cir. 2016) (“We fail to see how Yelp’s rating system, which is based on rating inputs from third
 8   parties and which reduces this information into a single, aggregate metric is anything other than user-
 9   generated data.”); Klayman v. Zuckerberg, 753 F.3d 1354, 1358 (D.C. Cir. 2014) (“[A] website does not
10   create or develop content when it merely provides a neutral means by which third parties can post
11   information of their own independent choosing online.”); Levitt v. Yelp! Inc., 2011 WL 5079526, at *7
12   (N.D. Cal. Oct. 26, 2011), aff’d, 765 F.3d 1123 (9th Cir. 2014) (similar).
13                  3.      The States’ Unpled Claims About Particular Features Fail.
14          After Meta explained in its Motion to Dismiss why each feature the States challenge is shielded
15   from liability, the States changed tack in their Opposition, arguing that an entirely new set of features is
16   also at issue. See AG Opp. 17. The States now assert unfair or unconscionable practices claims based on
17   (1) the ability of users to have multiple Instagram accounts, (2) appearance-altering filters, and (3) users’
18   inability to self-restrict time on the services. Id. They say that Meta “concedes” these allegations can
19   proceed because it did not move to dismiss them. Id.
20          The most basic flaw in the States’ argument is that their Complaint does not plead challenges to
21   these features as part of their unfair practices claims. Those claims explicitly include a list of challenged
22   features (all of which Meta addressed in its Motion) and none of these newly added features are on that
23   list. See Compl. ¶¶ 847–50 (collecting allegations to support these claims); id. ¶ 847(b)–(e) (listing
24   challenged features). The new features the States point to in their brief, by contrast, are pulled from stray
25   allegations throughout the Complaint, with no nexus drawn to this set of claims. For instance, the
26   “multiple accounts” allegation the States cite appears in three paragraphs that are nearly 500 paragraphs
27   removed from the States’ unfair practices allegations. See AG Opp. 17 (citing Compl. ¶¶ 370–72). The
28   States’ “attempt to rewrite the [complaint] in their Opposition [to survive a motion to dismiss] is not
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 1   plausible,” and the Court should reject it. Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1023 (N.D. Cal.
 2   2020). Meta had no reasonable and fair notice that the States would single out these features scattered
 3   across the Complaint when they explicitly listed other features as the basis for their unfair practices claims.
 4   The Court should dismiss the claims based on what the States actually pled. 12
 5          If the Court is inclined to consider these newly asserted features, Section 230 bars liability for
 6   permitting users to have multiple accounts. As another court in this District has explained, “decisions
 7   regarding the structure and operation of a website—such as permitting users to register under multiple
 8   screen names—reflect choices about what content can appear on the website and in what form and thus
 9   fall within the purview of traditional publisher functions.” Fields, 217 F. Supp. 3d at 972 (emphasis
10   added). Permitting users to open accounts (or multiple accounts) is analogous to traditional publishing
11   functions because it is inseparable from choices about how and to whom content is published. See, e.g.,
12   id. at 972 (holding that liability on this basis would violate Section 230 because it concerns “granting
13   permission to post (through the provision of Twitter accounts) instead of for allowing postings that have
14   already occurred”); Friendfinder Network, Inc., 540 F. Supp. 2d 288, 295 (D.N.H. 2008) (holding that
15   Section 230 covers “a feature that allowed a single individual to post under multiple screen names” and
16   that holding otherwise would “eviscerate Section 230 immunity” (cleaned up)). 13
17          B.      Section 230 Bars the States’ Claims That Meta Omitted or Failed To Provide
                    Warnings Regarding Instagram and Facebook’s Design Features.
18
            Just as Section 230 bars claims challenging how Meta publishes third-party content, it also bars
19
     claims seeking to hold Meta liable for omissions regarding the manner in which it publishes third party
20
     content. Such omission claims still seek to hold Meta liable as a publisher. See, e.g., Barnes, 570 F.3d at
21
     1101–02 (in applying Section 230, “what matters is not the name of the cause of action,” but “whether the
22

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     12
24      See Baker v. Twitter, Inc., 2023 WL 6932568, at *3 (C.D. Cal. Aug. 25, 2023) (Rule 8 and “basic
     common sense call for pleadings that do not require the Court to immediately recall what was alleged in
25   paragraph 97 in order to understand why one bolded sentence in a half-page-long block quote in paragraph
     223 is false or misleading …. Lead Plaintiff is reminded that ‘[j]udges are not like pigs, hunting for truffles
26   buried in’ overlong complaints.” (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)).
     13
        Meta recognizes that the Court previously ruled that claims based on appearance-altering filters and the
27   lack of options to self-restrict time are not barred by Section 230 or the First Amendment. See Prior Order
     14–15, 21–22. While Meta respectfully disagrees with those rulings, and preserves its arguments as
28   applied to the States’ claims, Meta does not seek to relitigate those rulings here.

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 1   cause of action inherently requires the court to treat the defendant as the ‘publisher or speaker’ of content
 2   provided by another.”).
 3          The States’ omission claims seek to hold Meta liable for failing to disclose “the risk of harm to
 4   youth who use Meta’s Platforms.” AG Opp. 18. Because, for the reasons discussed above, this risk of
 5   harm derives from the publication of third-party content, any warning about this publication would also
 6   be a publishing function.14 See Bride v. Snap Inc., 2023 WL 2016927, at *6 (C.D. Cal. Jan. 10, 2023)
 7   (“Had those third-party users refrained from posting harmful content, Plaintiffs’ claims that Defendants
 8   falsely advertised and misrepresented their applications’ safety would not be cognizable. Accordingly, the
 9   nature of Plaintiffs’ legal claim does not alter the court’s conclusion, whether based on negligence or false
10   advertising.”). These warnings would essentially amount to editorial commentary about the nature of the
11   underlying content or how it is presented, which is squarely within the traditional role of a publisher.
12   Herrick v. Grindr, LLC, 306 F. Supp. 3d 579, 591 (S.D.N.Y. 2018), aff’d, 765 F. App’x 586 (2d Cir. 2019)
13   (“[R]equiring [an interactive computer service] to post a warning at the outset or along with each profile
14   is no different than requiring [the service] to edit the third-party content itself.”); In re Facebook, Inc.,
15   625 S.W.3d 80, 93 (Tex. 2021) (“[A]ny liability [for a claim of omission] would be premised on second-
16   guessing of [the service’s] ‘decisions relating to the monitoring, screening, and deletion of [third-party]
17   content.’”). Imagine, for example, a preface to a short-story compilation book that warns of the disturbing
18   nature of the stories or how they are ordered. Only the publisher could elect to include such a preface.
19          Doe v. Internet Brands, Inc., 824 F.3d 846 (9th Cir. 2016), is inapposite. There, bad actors
20   allegedly contacted the plaintiff offline after viewing her modeling profile on the defendant’s website, as
21   part of a scheme to lure her to sham auditions and sexually assault her. In that case, (1) the bad actors did
22
     14
23      The States dispute that their omission claims are “merely repackaged failure to warn claims about
     Meta’s recommendation algorithms or other features” because they also purport to allege “a multitude of
24   omissions of internal research and knowledge that belie Meta’s … narrative around safety.” AG Opp. 17.
     This “internal research and knowledge” concerns Meta’s research into and knowledge about the alleged
25   harmful content to which users may be exposed. Meta’s alleged failure to disclose this information thus
     essentially amounts to a failure to inform—i.e., “warn”—users about this alleged harmful content. No
26   matter how the States frame it, the “multitude of omissions” they allege all fall within the same broad
     theme of allegedly failing to disclose (i.e., warn about) allegedly known risks. See Bride v. Snap Inc.,
27   2023 WL 2016927, at *7 (C.D. Cal. Jan. 10, 2023) (dismissing false advertising claims “for the same
     reason as Plaintiffs’ failure to warn claims: … they are all predicated on allegations concerning activity
28   immunized by Section 230”).

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 1   not post anything to the website, (2) the plaintiff was not lured by any post on the website, and (3) the
 2   defendant did not learn of the predators’ activity from any monitoring of posts on the website, but instead
 3   from an outside source. Id. at 851. In other words, the plaintiff’s claims did not relate to the publication
 4   of any third-party content whatsoever, and thus liability “would not require [defendant] to remove any
 5   user content or otherwise affect how it publishes or monitors such content.” Id. In contrast, here the
 6   alleged omissions directly relate to how Meta publishes third-party content. See supra Part II.A; see also
 7   Herrick, 306 F. Supp. 3d at 592 (distinguishing Internet Brands on this basis); In re Facebook, 625 S.W.3d
 8   at 95 (same); Bride, 2023 WL 2016927, at *7 (same); L.W. through Doe v. Snap Inc., __F. Supp. 3d__,
 9   2023 WL 3830365, at *7 (S.D. Cal. June 5, 2023) (same). 15
10        III.      THE STATES FAIL TO ALLEGE ACTIONABLE MISREPRESENTATIONS.
11               In addition to their omission claims being barred by Section 230, the States’ deceptive practices
12   claims fail for several independent reasons. In their Opposition, the States accuse Meta of seeking
13   dismissal of certain statements in isolation, without considering their alleged “complex, multifaceted
14   scheme of deception” as a whole. AG Opp. 23–24. But Rule 9(b) requires that claims sounding in fraud—
15   as the States’ deception claims unquestionably do16— must plead the “time, place, and specific content of
16
     15
17      The States criticize Meta for supposedly urging the Court to “hold the opposite” from its ruling in the
     Prior Order regarding the PI Plaintiffs’ failure-to-warn claims (despite themselves repeatedly urging the
18   Court to “hold the opposite” of its prior Section 230 rulings). AG Opp. 17. As the Court noted in its
     February 2, 2024 ruling on Defendants’ Motion to Certify Interlocutory Appeal, however, it “has yet to
19   rule on the claims of ... the state attorneys general” regarding this issue. See ECF 590 at 5.
     16
        Six States dispute the application of Rule 9(b) to their claims of deception by relying on standards from
20   their respective state courts. See AG Opp. 5 n.5. But the Rule 9(b) pleading standard is a federal
     procedural rule that applies in federal court as a matter of federal law, regardless of the state-law pleading
21   standards. Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1102–03 (9th Cir. 2003) (“[W]hile a federal
     court will examine state law to determine whether the elements of fraud have been pled sufficiently to
22   state a cause of action, the Rule 9(b) requirement that the circumstances of the fraud must be stated with
     particularity is a federally imposed rule.”); NCC Sunday Inserts, Inc. v. World Color Press, Inc., 692 F.
23   Supp. 327, 330 (S.D.N.Y. 1988) (“[I]t is federal law which governs procedural issues of state law raised
     in federal court, and Rule 9(b) is a procedural rule.”); de Dios v. Gerard Roof Prod., LLC, 2018 WL
24   6016952, at *3 (C.D. Cal. Sept. 4, 2018) (similar). Moreover, “[i]n cases where fraud is not a necessary
     element of a claim, a plaintiff may choose nonetheless to allege in the complaint that the defendant has
25   engaged in fraudulent conduct,” in case which Rule 9(b) would apply. Vess, 317 F.3d at 1103. And
     because the issue is one of federal law, the Ninth Circuit’s interpretation of Rule 9(b) is binding on this
26   Court with respect to all claims. See Gold v. Lumber Liquidators, Inc., 2015 WL 7888906, at *12 (N.D.
     Cal. Nov. 30, 2015) (“Regardless of whether federal courts in New York and Illinois apply Rule 9(b) to
27   their state consumer protection statutes, federal courts in California are bound to apply Ninth Circuit
     precedent, which applies rule 9(b) to [consumer protection claims].”); Keegan v. Am. Honda Motor Co.,
28   838 F. Supp. 2d 929, 957 (C.D. Cal. 2012) (similar).

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 1   the false representations as well as the identities of the parties to the misrepresentations.” Swartz v. KPMG
 2   LLP, 476 F.3d 756, 764 (9th Cir. 2007); see also Mot. 6, 29. Generalized, conclusory allegations about a
 3   “scheme of deception” and the like do not suffice. Meta thus focused its Motion on those specific
 4   representations that could even possibly satisfy the threshold Rule 9(b) showing. This does not mean
 5   Meta has ignored their broader context—to the contrary, the broader context demonstrates that Meta’s
 6   statements were matters of opinion rather than fact, were not false or misleading, would not be material
 7   to reasonable consumers, and/or were made in the context of protected petitioning activity or not as part
 8   of a consumer transaction. See Mot. 25–37.
 9          A.      Meta’s Opinions About the “Safety” of Its Services Are Not Actionable.
10          The States claim that Meta “made misleading statements … about the harmfulness and
11   addictiveness of its Platforms” and “misrepresented that it prioritized young users’ health and safety over
12   maximizing profits.” AG Opp. 23. The allegations underlying these claims relate to statements Meta
13   allegedly made regarding the “safety” of its services or its prioritization of user “safety.”17 The States fail
14   to establish that these statements—either in isolation or in aggregate—are anything other than non-
15   actionable, non-quantifiable statements of opinion or generalized aspirations (as opposed to statements of
16   fact). See Mot. 26–28; see also Appx A (chart setting forth legal standard on state-by-state basis).
17          As an initial matter, the States argue that it is inappropriate to decide whether Meta’s statements
18   constitute non-actionable opinion statements at this stage. But “the determination of whether an alleged
19   representation ‘is a statement of fact’ or instead ‘mere puffery’ is a legal question that may be resolved on
20   a Rule 12(b)(6) motion.” Newcal Indus. Inc. v. Ikon Office Sol., 513 F.3d 1038, 1053 (9th Cir. 2008). 18
21   For this reason, the case law is filled with examples of courts dismissing such claims at the pleading stage.
22   E.g., In re ON24, Inc. Sec. Litig., 2023 WL 7449838, at *11 (N.D. Cal. July 7, 2023) (granting motion to
23   dismiss “on the grounds of puffery”). The Court can readily determine here as a matter of law that Meta’s
24
     17
25      E.g., Compl. ¶ 122, 123, 125, 127–31, 133, 136, 169, 222–23, 265, 448, 473, 478, 592, 829.
     18
        See also Cook, Perkiss & Liehe, Inc. v. N. California Collection Serv. Inc., 911 F.2d 242, 245 (9th Cir.
26   1990) (“District courts often resolve whether a statement is puffery when considering a motion to dismiss
     pursuant to Federal Rule of Civil Procedure 12(b)(6) and we can think of no sound reason why they should
27   not do so.”); Ahern v. Apple Inc., 411 F. Supp. 3d 541, 555 (N.D. Cal. 2019) (“Whether a statement is
     puffery or a representation of fact is a question of law that can be properly decided on a motion to
28   dismiss.”) (collecting cases)).

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 1   alleged statements regarding “safety” or its prioritization of safety are “[g]eneralized, vague, and
 2   unspecified assertions … upon which a reasonable consumer could not rely.” Elias v. Hewlett-Packard
 3   Co., 903 F. Supp. 2d 843, 854–55 (N.D. Cal. 2012) (granting motion to dismiss).
 4          The States do not dispute that to be an actionable misrepresentation that can form the basis of a
 5   consumer protection claim, “a statement must be ‘specific and measurable’ and capable of being proven
 6   true or false.” Azoulai v. BMW of N. Am. LLC, 2017 WL 1354781, at *8 (N.D. Cal. Apr. 13, 2017)
 7   (quoting Southland Sod Farms v. Stover Seed Co., 108 F.3d 1135, 1145 (9th Cir. 1997)); Mot. 26–27. As
 8   courts have regularly held, “there is nothing ‘specific and measurable’ about the word ‘safely.’” Id.; see
 9   also Mot. 27–28 (collecting cases). The States insist that Meta’s safety representations must be considered
10   in context, and cite to a minority of decisions where statements regarding “safety” were found to be
11   actionable. AG Opp. 25. But comparing those cases to this one demonstrates that they are the exceptions
12   that prove the rule.
13          For example, several of the States’ cases involved fundamental vehicle defects that rendered the
14   car dangerous to drive and thus objectively not “safe” under any definition of the word. See In re Toyota
15   Motor Corp., 2012 WL 12929769, at *18 (C.D. Cal. May 4, 2012) (holding that “[a]dvertising a car as
16   safe and reliable when it actually has a safety-related defect that may render it unable to stop is not ‘within
17   the tolerable range of commercial puffery,’” but comparing to the usual case where “general claims of ‘a
18   superior safety profile’ were mere puffery” (emphasis added)); see also In re Takata Airbag Prod. Liab.
19   Litig., 462 F. Supp. 3d 1304, 1310, 1318 (S.D. Fla. 2020) (car with exploding airbags was objectively not
20   safe to drive); In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Pracs., & Prod. Liab.
21   Litig., 754 F. Supp. 2d 1145, 1177 (C.D. Cal. 2010) (car with faulty brakes was objectively not safe to
22   drive). Similarly, in Zeiger v. WellPet LLC, whether dog food was “safe” to consume, as opposed to
23   contaminated with toxins that could cause serious health problems, could be objectively measured and
24   proven false. 304 F. Supp. 3d 837, 842, 851 (N.D. Cal. 2018); see also Williams v. Amazon, Inc., 573 F.
25   Supp. 3d 971, 973–75 (E.D. Pa. 2021) (temporary tattoo kit that caused “permanent and disfiguring burns”
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 1   was not safe).19
 2          By contrast, the concept of “safety” here, in the context of a novel communication service where
 3   Meta must balance the competing goals of fostering free expression and restricting sensitive content, are
 4   squarely matters of opinion upon which reasonable people can disagree. See supra Part II. This case is
 5   thus a far cry from cars that cannot stop, dog food that is toxic, or a tattoo kit that causes disfigurement.
 6   Instead, it is akin to In re Yahoo! Inc. Customer Data Sec. Breach Litig., 2017 WL 3727318 (N.D. Cal.
 7   Aug. 30, 2017), which the States failed to address in their Opposition. See Mot. 28. There, even though
 8   Yahoo allegedly knew about and did not disclose the risks of data breaches, representations about
 9   prioritizing the safety of users’ information were not actionable. 2017 WL 3727318, at *26. Ultimately,
10   whether the steps Yahoo had taken to keep user data safe were sufficient was a matter of opinion and a
11   non-measurable statement of a generalized goal. The same is equally true here.
12          B.      The States Fail to Establish That Alleged Statements Were False or Misleading.
13          For many of their core theories of alleged deception, the States fail to reconcile the fundamental
14   “mismatch between the representations at issue and the evidence that allegedly debunks them.” Amado
15   v. Procter & Gamble Co., 2023 WL 3898984, at *9 (N.D. Cal. June 8, 2023). 20
16          Deletion of Under-13 Accounts. The States allege that Meta fails to abide by its stated policy of
17   deleting accounts of under-13 users because a portion of those accounts reported to be of under-13 users
18   were not disabled. AG Opp. 27 (citing Compl. ¶ 673). But a “report” of an under-13 account does not
19   mean that the user is actually under 13. The States’ claim appears to hinge on the distinction between
20   whether Meta deletes an account if it “can’t verify” the age of the user or does so only when it can verify
21
     19
22      The Williams court also acknowledged many cases finding claims of “safety” to be non-actionable
     statements of opinion, 573 F. Supp. 3d at 974–75, but nonetheless held otherwise because of the
23   Pennsylvania Supreme Court’s recent opinion in Commonwealth by Shapiro v. Golden Gate Nat’l Senior
     Care LLC, 194 A.3d 1010 (Pa. 2018)—a case involving objectively disprovable “statements promising to
24   provide food, water, and clean linens” to nursing home residents, id. at 1024.
     20
        Rule 9(b) requires that the States “must set forth an explanation as to why the statement or omission
25   complained of was false or misleading.” In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir.
     1994) (en banc). Further, a “mismatch” between the representation and the alleged underlying facts
26   renders the claim implausible under the standards of Rule 8 as well. See Vigil v. Gen. Nutrition Corp.,
     2015 WL 8056178, at *6 (S.D. Cal. Dec. 4, 2015) (“When it comes to the plausibility analysis, the
27   essential inquiry depends upon a comparison of the match ‘between the representations at issue and the
     evidence that allegedly debunks them.’” (emphasis added)). Because the adequacy of the States’ pleading
28   is governed by federal law, see supra n.16, this argument applies equally to the claims of all States.

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 1   the user is under 13. Even if this is a real discrepancy, the States fail to show how it would be material to
 2   users. See infra Part III.C.
 3          Prevalence of Harmful Content. The States concede that the “BEEF and TRIPS data do not show
 4   CSER metrics to be false” and that “the two sets of data are logically compatible.” AG Opp. 28–29. This
 5   concession is fatal to their claim that CSER data are supposedly misleading because Meta does not also
 6   disclose the BEEF and TRIPS data. As the States acknowledge, CSER concerned the percentage of views
 7   of content that actually violated Meta’s content standards, whereas BEEF and TRIPS concerned the
 8   percentage of users who self-reported having seen content that they perceived as falling into certain
 9   categories. See Mot. 31–32; AG Opp. 28. A user can report having seen a single instance of harmful
10   content even if the dozens or hundreds of other posts they viewed were not objectionable.
11          Cullen v. Netflix, Inc., 2013 WL 140103 (N.D. Cal. Jan. 10, 2013), aff’d, 600 F. App'x 508 (9th
12   Cir. 2015)—which the States failed to address—is directly on point. See Mot. 30. There, the plaintiff’s
13   allegations that a certain percentage of titles on Netflix failed to include closed captioning did not
14   controvert Netflix’s claim that a certain percentage of “viewing coverage” was captioned. Id. at *7. The
15   court thus dismissed the claim both under the Rule 9(b) requirement to plead how the misrepresentation
16   was misleading and for failing to show that “members of the public are likely to be deceived.” Id.
17          Unable to meaningfully overcome this discrepancy, the States fall back on Meta’s statement that
18   CSER is “the most important measure of a healthy online community.” AG Opp. 28 (citing Compl. ¶
19   463). This is a classic example of a non-actionable statement of opinion. See supra Part III.A. Whether
20   CSER is the “most important” metric, rather than BEEF or TRIPS or some other metric, is not a
21   measurable statement of objective fact. See In re Bristol-Myers Squibb Sec. Litig., 312 F. Supp. 2d 549,
22   559 (S.D.N.Y. 2004) (statement that new drug was “one of the most important advances in cancer
23   medicine” was “non-actionable opinion, personal or corporate optimism and puffery”).
24          Project Daisy. The States argue that their claim is “not about Project Daisy’s results, but [Meta’s]
25   reasons for rejecting the feature.” AG Opp. 29. As alleged in the Complaint, the reason Meta represented
26   for not adopting Project Daisy was that it “ultimately didn’t have as strong an impact as we’d hoped.”
27   Compl. ¶ 286. The Complaint, however, does not contain any non-conclusory allegations suggesting that
28   Meta’s stated reason was false. While the States allege that Meta estimated Project Daisy would have an

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 1   estimated 1% negative effect on advertising revenue, id. ¶ 250, they offer nothing to plausibly suggest that
 2   this was the actual reason for the decision not to implement Project Daisy.
 3          C.      The States Fail to Establish That the Alleged Misrepresentations Were Material.
 4          Courts in at least 19 states asserting deceptive practices claims have recognized that materiality is
 5   an essential element of the claim, and another eight states generally follow the standards under Section 5
 6   of the Federal Trade Commission Act (“FTCA”), which requires materiality. Mot. 33–34 & nn. 36–37,
 7   47–48; see Appx. B (chart setting forth materiality standard on state-by-state basis). Nonetheless, 20
 8   States contest whether they must plead materiality. AG Opp. 29–30. Some argue simply that the “plain
 9   text” of their statutes does not include a materiality requirement, ignoring on-point case law. Id. at 29–30
10   & n. 27. 21 The States also contend in conclusory fashion that materiality is “usually eschewed in public
11   enforcement actions,” a point that is addressed by only two cases, neither of which discusses whether
12   materiality is required. See id. 26, 30 & n. 28. 22 Relatedly, some States cite to cases stating that consumer
13   protection statutes do not have the same elements as common-law fraud, but do not address whether those
14   statutes require materiality. Id. at 30 n. 29. 23 Other States with multiple deceptive practices causes of
15   action argue that the cases cited by Meta only apply to one of their claims, without providing any authority
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18      California, Delaware, Indiana, Kentucky, Louisiana, Minnesota , Nebraska, New York, North Carolina,
     North Dakota, Pennsylvania, South Carolina, and Virginia all make this argument—but none cites to any
19   case law saying there is no materiality requirement or controverting the cases Meta cited. Arizona cites
     to a case that discusses the difference between acts and omissions, but it does not say materiality is not
20   required for affirmative acts. Michigan and Kansas concede that at least some prong of their statutes
     require materiality. Connecticut concedes that its courts have construed its statute to include a materiality
21   requirement. Only New Jersey and Kansas cite to cases that hold that at least some prongs of their statutes
     do not require materiality. See AG Opp. 30 n. 27; but see DepoLink Ct. Reporting & Litig. Support Servs.
22   v. Rochman, 64 A.3d 579, 587 (N.J. App. Div. 2013) (“Under the CFA, ‘[t]he misrepresentation has to be
     one which is material to the transaction ... made to induce the buyer to make the purchase.’”).
23   22
        See Ballagh v. Fauber Enterprises, Inc., 773 S.E.2d 366, 368 (Va. 2015) (holding that the burden of
24   proof under Virginia’s statute is by the preponderance of the evidence rather than by clear and convincing
     evidence, but saying nothing about materiality); Tiismann v. Linda Martin Homes Corp., 637 S.E.2d 14,
25   17 (Ga. 2006) (noting in dicta that public enforcement actions need not show “whether or not any person
     has actually been misled,” but saying nothing about materiality).
     23
26      See, e.g., Brownlow v. McCall Enterprises, Inc., 888 N.W.2d 295, 307 (Mich. Ct. App. 2016) (holding
     that claim does not require knowledge of falsity, but saying nothing about materiality); Owens v. DRS
27   Auto. Fantomworks, Inc., 764 S.E.2d 256, 260 (Va. 2014) (holding that claim does not require knowledge
     or intent to deceive, but “still requires proof, in misrepresentation cases, of the elements of reliance and
28   damages” (emphasis added)).

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 1   for why their other claims should be treated differently. Id. at 30–31 n. 30. 24 Finally, some States cite
 2   cases stating that FTCA decisions are merely persuasive rather than controlling, but provide no basis to
 3   actually depart from the FTCA materiality requirement. AG Opp. 31 n. 31.
 4           In any event, whether the element is articulated as “materiality” or as a requirement that “members
 5   of the public [be] likely to be deceived,” the concept is essentially the same—to be deceptive, a
 6   representation must have a tendency to mislead consumers, i.e., to induce them to act differently than they
 7   otherwise would. 25 Under this standard, statements by Meta regarding increasing the amount of time users
 8   spent on its services are plainly not material. Reasonable people would not avoid Meta’s services merely
 9   upon learning that Meta wants people to use its services—just as customers would not choose to avoid a
10   restaurant merely because they learn that the owner wants patrons to eat there more frequently.
11           D.      The States’ Claims Fail Insofar as They Are Premised on Statements to Congress.
12           The States’ claims based on statement made to Congress should be dismissed. First, as an initial
13   matter, the States are wrong to suggest that Meta made false statements to Congress. Second, the States
14   (and PI Plaintiffs) are wrong to assert that the Noerr-Pennington doctrine does not apply to testimony
15   given to Congress. Under Noerr, “attempts to lobby and petition a governmental body … are absolutely
16   immune” from liability. Franchise Realty Interstate Corp. v. San Francisco Loc. Joint Exec. Bd. of
17   Culinary Workers, 542 F.2d 1076, 1080 (9th Cir. 1976). While the doctrine “originally arose in the
18   antitrust context, it is based on and implements the First Amendment right to petition and therefore …
19   applies equally in all contexts.” White v. Lee, 227 F.3d 1214, 1231 (9th Cir. 2000).
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     24
21      See, e.g., People by James v. N. Leasing Sys., Inc., 267, 133 N.Y.S.3d 389, 403 (N.Y. Sup. Ct. 2020),
     aff’d, 142 N.Y.S.3d 36 (2021) (New York Executive Law § 63(12) applies to “materially misleading
22   representations” (emphasis added)).
     25
        See Waller v. Hewlett-Packard Co., 295 F.R.D. 472, 485 (S.D. Cal. 2013) (“For liability to attach under
23   [consumer protection] statutes, it is necessary to show only that members of the public are likely to be
     deceived... . This is a question, ultimately, of the materiality of the alleged misrepresentation.” (emphasis
24   added)); Chiste v. Hotels.com L.P., 756 F. Supp. 2d 382, 403 (S.D.N.Y. 2010) (“To determine whether an
     act or practice is materially misleading, a court looks to whether it could ‘mislead a reasonable consumer
25   acting reasonably under the circumstances.’”); People v. Johnson & Johnson, 77 Cal. App. 5th 295, 327
     (2022) (assuming that “a materiality standard is implicit in the likelihood of deception standard applicable
26   in all fraudulent and deceptive advertising cases”); 17 Am. Jur. 2d Consumer Protection § 280 (“A
     solicitation may be likely to mislead, for purposes of deception, by virtue of the net impression it creates ...,
27   if it involves information that is important to consumers and, hence, likely to affect their choice of, or
     conduct regarding, a product.”); see also id. § 283 (“materiality of an alleged misrepresentation or
28   deception is a required element” in deceptive practices claims).

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 1          While the States suggest that the “sham” exception to Noerr precludes dismissal here because the
 2   “testimony was [allegedly] false” (which Meta denies), AG Opp. 33, they are mistaken. Noerr itself
 3   involved a “fraudulent” publicity campaign designed to influence legislative action. Eastern R.R.
 4   Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 133 (1961). And since that time, courts have
 5   repeatedly reaffirmed that when “activities occur in a legislative or other non-adjudicatory governmental
 6   setting,” Noerr-Pennington applies even to “‘conduct that can be termed unethical,’ such as [alleged]
 7   deception and misrepresentation.” 26
 8          In the context of petitioning directed at legislative bodies, the sham exception applies only
 9   narrowly, where the defendant “caused [] harm” to the plaintiff “by ‘abus[ing] ... the publicity/lobbying
10   process.’” B&G Foods N. Am., Inc. v. Embry, 29 F.4th 527, 536 (9th Cir. 2022) (quoting Manistee Town
11   Ctr. v. City of Glendale, 227 F.3d 1090, 1095 (9th Cir. 2000)). Because the States do not allege any facts
12   even remotely suggesting that they (or their citizens) were harmed by an abuse of process—as opposed to
13   Meta’s allegedly false statements—the sham exception is plainly inapplicable. E.g., Manistee Town Ctr.,
14   227 F.3d at 1095 (dismissing complaint where “the facts alleged by [plaintiff] do not place defendants’
15   actions within the ‘sham’ exception”); see Kearney v. Foley & Lardner, LLP, 590 F.3d 638, 647 (9th Cir.
16   2009) (“[W]hen a plaintiff seeks damages ... for conduct which is prima facie protected by the First
17   Amendment, the danger that the mere pendency of the action will chill the exercise of First Amendment
18   rights requires more specific allegations than would otherwise be required.”).
19          The Court should also reject the PI Plaintiffs’ implausible suggestion that Meta’s testimony to
20   Congress is not petitioning activity. PI Opp. 10. As the very transcript incorporated by reference in their
21   Complaint makes clear, potential legislative action directly implicating social media companies was the
22   focus of the hearings. See, e.g., PI SAC ¶ 370 & nn. 488-89.
23          Third, the States fail to establish that statements made to Congress are within “trade or commerce”
24   or in connection with a “sale,” “advertisement,” or “consumer transaction,” as is typically required. See
25

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     26
        Metro Cable Co. v. CATV of Rockford, Inc., 516 F.2d 220, 228 (7th Cir. 1975); see Tuosto v. Philip
27   Morris USA Inc., No. 05CIV.9384(PKL), 2007 WL 2398507, at *5 (S.D.N.Y. Aug. 21, 2007) (“Noerr–
     Pennington protection has been extended to all advocacy intended to influence government action,
28   including to allegedly false statements”) (collecting cases).

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 1   Mot. 36–37; Appx. D. On this point, the States spend much of their Opposition attempting to shift their
 2   burden onto Meta, arguing that Meta “does not even attempt to grapple with each State’s own
 3   interpretation of these clauses,” AG Opp. 33, when the States offer no interpretations of the statutes that
 4   would contradict their plain statutory text. The States cherry-pick some cases that use language possibly
 5   suggesting a somewhat looser connection to trade or commerce, but even these cases require conduct that
 6   is “in connection with” a consumer transaction, is in the “context of the ongoing business,” has a
 7   “relationship” with a sale, or is done “for the purpose of increasing profits.” AG Opp. 33–34 (citing
 8   cases). While the States claim that Meta fails to “persuasively argue why its highly public statements [to
 9   Congress] … do not fall within the larger ambit of trade or commerce,” it is the States that fail to explain
10   how responses to questions by Congress are within the ambit of commercial transactions.
11       IV.      THE STATES FAIL TO ALLEGE UNFAIR BUSINESS ACTS OR PRACTICES.
12             Beyond being barred by Section 230, the States’ unfair practices claims are fundamentally flawed
13   on their own terms. The States’ claims attempt to transform the ordinary business practice of allegedly
14   attempting to increase user engagement (allegedly to increase profits) into an unfair practice. In doing so,
15   they would expose virtually every business—large and small—to this dramatic new form of liability.
16             The States would do so even though courts across have rejected using unfair trade practices claims
17   seeking to impose liability on businesses for seeking a profit. See Mot. 38–39 (collecting cases). They
18   would do so despite courts explicitly rejecting their theory that allegations of “addiction” to digital services
19   render the practices unfair. See Phillips v. Double Down Interactive LLC, 173 F. Supp. 3d 731, 743 (N.D.
20   Ill. 2016); Ristic v. Mach. Zone, Inc., 2016 WL 4987943, at *4 (N.D. Ill. Sept. 19, 2016). And they would
21   do so despite being unable to cite a single case that permitted similar claims to proceed in any of the
22   jurisdictions at issue (let alone all). The scattered cases the States cite on individual elements or issues
23   concern allegations far different from the novel theory here—such as annual credit card fees that were not
24   disclosed or a website that issued unverified checks from users that was abused by “fraudsters and con
25   artists.” See Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152 (9th Cir. 2012); FTC v. Neovi, Inc., 604
26   F.3d 1150 (9th Cir. 2010). When interpreting state law, “[f]ederal courts should hesitate prematurely to
27   extend the law in the absence of an indication from the state courts or the state legislature that such an
28   extension would be desirable.” Del Webb Communities, Inc. v. Partington, 652 F.3d 1145, 1154 (9th Cir.

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 1   2011) (cleaned up). That is particularly true here, where the States urge a California federal court to
 2   markedly expand liability for businesses across most of the country.
 3          A.      Claims Based on or Guided by Section 5 of the FTCA Should Be Dismissed.
 4          As the States concede, many of the unfair practices laws are identical to or guided by Section 5 of
 5   the FTCA. AG Opp. 34–36; see Appx. C (chart setting forth jurisdictions that follow FTCA standards).
 6   For the claims guided by Section 5, the States offer no reason to depart from that analysis. 27
 7          Substantial injury. The States do not dispute that “substantial injury” under Section 5 generally
 8   requires monetary harm or that they do not allege such harm. See Mot. 42. Accordingly, for their claims
 9   to survive, they would have to fit into a narrow band of non-monetary harms that are sufficiently severe
10   and concrete. See id. The States point to two specific categories of alleged emotional harms: (1) negative
11   body image issues and eating disorders and (2) negative social comparison to peers. See AG Opp. 36
12   n.39. But those are precisely the types of intangible harm that do not qualify. 28 The States’ only case did
13   not address comparable harms: it concerned unauthorized dissemination of phone records and found the
14   emotional harm sufficient because it stemmed from safety risks from abusers and stalkers and was coupled
15   with economic harm. FTC v. Accusearch, Inc., 2007 WL 4356786, at *8 (D. Wyo. Sept. 28, 2007).
16          Not reasonably avoidable. The allegations that use of Facebook and Instagram are not reasonably
17   avoidable fail as a matter of law. Mot. 42–44. That is so at least because using them is voluntary, there
18   are any number of readily available alternatives, and the States plead themselves out of the claim by
19   alleging that Meta provides tools that indisputably help users avoid using the services. See id.
20          The States first respond that Meta “ignores” its allegations of “addiction.” AG Opp. 37. But a
21

22   27
        The States argue that “many of these laws are less restrictive than the FTCA,” but provide only two
23   examples (Arizona and Washington) and admit that even those two states are “guided by” Section 5 of
     the FTCA. See AG Opp. 35 & n.37. That is what Meta’s Motion argued. Mot. 39–40 n.47. The States
24   never explain what they believe is different the laws of Arizona or Washington, nor do they point to any
     cases bearing on these allegations. See AG Opp. 35 n.37. Separately, Meta’s Motion pointed out that
25   North Dakota’s statute is similar to the FTCA. See Mot. 41 n.48. The States argue that Meta did not cite
     any caselaw on the subject. AG Opp. 35 n.36. But the two statutes employ substantially similar language,
26   and the States do not dispute that the Section 5 analysis is applicable to North Dakota.
     28
        See FTC, Unfair, Deceptive, and Abusive Practices – Federal Trade Commission Act/Dodd-Frank Act
27   (June 2022), available at https://www.fdic.gov/resources/supervision-and-examinations/consumer-
     compliance-examination-manual/documents/7/vii-1-1.pdf (explaining that “[e]motional impact and other
28   more subjective types of harms will not ordinarily make a practice unfair”).

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 1   consumer is free to not use the service in the first place, before its allegedly “addictive” features can have
 2   any effect. A consumer is also able to use alternative services—a fact the States do not dispute. As Meta
 3   pointed out, multiple courts have rejected the States’ “addiction” theory of reasonable avoidance. See
 4   Phillips, 173 F. Supp. 3d at 743 (dismissing claims that casino video games “exploit the psychological
 5   triggers associated with gambling and addiction” because the plaintiff “could have picked other forms of
 6   entertainment, or even sought to play online games on a different platform or website”); Ristic, 2016 WL
 7   4987943, at *4 (dismissing claims that video game “use[d] psychological triggers that prompt regular
 8   consumers, as well as addicts, to continue wagering”). The States take issue with these cases—the most
 9   analogous either Party has cited—because they come from one state and apply to all users (not just
10   minors). But both cases applied principles applicable to the analysis more broadly (not specific to Illinois)
11   and neither turned on the age of the plaintiff. Tellingly, the States cannot point to a single case cutting the
12   other way, or one that held there is a special exception to the reasonably-avoidable requirement for minors.
13          In response to Meta’s point that the States allege that Meta has given users tools to limit their time
14   on the services—the “Take a Break” and “Daily Limit” tools—the States contend that “addictive” use
15   renders the tools ineffective. But the question is whether users could have reasonably avoided or mitigated
16   the alleged harm, and the presence of tools helping facilitate their choice to do so demonstrates that they
17   can. See Davis, 691 F.3d at 1168–69 (“An injury is reasonably avoidable if consumers have reason to
18   anticipate the impending harm and the means to avoid it, or if consumers are aware of, and are reasonably
19   capable of pursuing, potential avenues toward mitigating the injury after the fact.” (cleaned up)).
20          Finally, to the extent the claims are predicated on COPPA, the States barely respond to Meta’s
21   argument that a user intentionally lying that he or she is at least 13 years old (to avoid Meta’s bar on under-
22   13 use) is “reasonably avoidable” because it is a volitional choice by the user. See Mot. 45. The States
23   say, citing a single 1964 FTC order that does not bear on allegations like these, that children are not mature
24   enough to make certain choices. AG Opp. 38. But the legal question here is whether the user can
25   reasonably avoid the harm caused by the defendant. Holding companies liable for alleged harms to users
26   arising from the users’ own volitional misrepresentations would turn consumer protection law on its head.
27          Not outweighed by countervailing benefits. The Opposition confirms that the States only plead
28   conclusory allegations that the alleged harm outweighs the meaningful societal benefits of Facebook and

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 1   Instagram. See AG Opp. 38–39 (“The States’ Complaint sufficiently pleads an array of serious harms.”).
 2   Those allegations are insufficient under basic pleading principles, In re Gilead Scis. Sec. Litig., 536 F.3d
 3   1049, 1055 (9th Cir. 2008), and fail to state a claim, Parziale v. HP, Inc., 445 F. Supp. 3d 435, 446–47
 4   (N.D. Cal. 2020) (conclusory allegations of countervailing benefits are insufficient).
 5          B.      To the Extent the Sperry Test Applies, Claims Based on It Should Be Dismissed.
 6          The States contend that an unspecified group of states follow the Sperry test (or “cigarette rule”)
 7   that the FTC has since abandoned, rather than current Section 5 law. AG Opp. 35 & n.38. 29 They argue
 8   in a conclusory footnote that the test is satisfied but quickly move on to arguing that the Court can apply
 9   the Section 5 test and deny dismissal on that basis. Meta agrees that modern Section 5 law is the
10   appropriate framework for these claims; the Court should proceed on that basis.
11          If the Court is inclined to rule on the States’ cursory argument, the three Sperry factors are
12   addressed in substance in Meta’s Motion (and this Reply) because they overlap with the Section 5 analysis.
13   First, the States have not identified a single public policy that they argue is offended in any state at issue—
14   let alone in all states. Second, the States have not adequately alleged that the actions here are “immoral,
15   unethical, oppressive, or unscrupulous.” As Meta explained in its Motion, courts have resisted attempts
16   to transform ordinary business practices like allegedly trying to increase users or engagement (even for
17   profit) into consumer protection violations. See Mot. 38–39. In addition, under this test, “a practice is
18   immoral, unethical, oppressive, or unscrupulous when said conduct leaves the consumer little choice but
19   to submit,” City of Chicago v. Purdue Pharma L.P., 211 F. Supp. 3d 1058, 1075 (N.D. Ill. 2016), so the
20   States’ claims would fail for the same reasons that the reasonably-avoidable prong is not satisfied. See
21   supra Part IV.A. Third, the alleged harms do not create a substantial injury to consumers for the reasons
22   explained in the Motion and above. See Mot. 42; supra Part IV.A.
23          C.      The Remaining Unfairness Claims Should Be Dismissed.
24          California. As Meta explained, under any of the three tests courts use for California unfair
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     29
26      Illinois is the only state that the States explicitly argue follows Sperry. See AG Opp. 38 n.43. The
     States also cite cases from Connecticut, North Carolina, Hawaii, and Nebraska that applied this test. Id.
27   35 n.38. They do not elaborate or say if they believe other states should be included. And, in any event,
     many cases that apply the Sperry test nonetheless look to the modern Section 5 test for guidance. See,
28   e.g., Dispazio v. Oakleaf Waste Mgmt., 2011 WL 1026094, at *18 (Conn. Super. Ct. Feb. 18, 2011).

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 1   business practices claims, the States have not stated a claim. Mot. 46. 30 The States fail to identify any
 2   policy or law that satisfies the tethering test. The only thing they point to is the introductory provision of
 3   the California Age-Appropriate Design Code Act, which states broadly that “children should be afforded
 4   protections … by online products and services.” Cal. Civ. Code § 1798.99.29 (intended effective date
 5   January 1, 2023). To start, it is telling that the States invoke an unconstitutional statute—and it is a strong
 6   indication that their claims likewise regulate protected speech and are constitutionally suspect. See
 7   NetChoice, LLC v. Bonta, 2023 WL 6135551 (N.D. Cal. Sept. 18, 2023) (finding the statute violates the
 8   First Amendment and enjoining it). An unconstitutional statute cannot be the predicate for an unfair
 9   practices claim. Daghlian v. Devry Univ., Inc., 2007 WL 5625508, at *8 n.40 (C.D. Cal. Dec. 10, 2007)
10   (“Plaintiff cannot enforce an unconstitutional statute indirectly by invoking the UCL.”). And it certainly
11   cannot be applied retroactively to impose liability based on conduct occurring prior to its effective date.
12          Even setting these defects aside, the States point only to the precatory section’s purpose
13   declarations, not any operative provision imposing legal requirements.            That introductory section
14   discusses child protection in broad terms without any operative rules and, consequently, provides no
15   yardstick by which to judge whether conduct is prohibited. See, e.g., Hodsdon v. Mars, Inc., 891 F.3d
16   857, 866 (9th Cir. 2018) (“To determine whether something is sufficiently ‘tethered’ to a legislative policy
17   for the purposes of the unfair prong, California courts require a close nexus between the challenged act
18   and the legislative policy”) (collecting examples of mismatched vague policy goals and specific acts).
19          Colorado. The cases in the Motion explained that Colorado law does not support a standalone
20   unfairness claim. See Sheet Metal Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKline, PLC,
21   737 F. Supp. 2d 380, 408 (E.D. Pa. 2010) (noting the “absence of any case from Colorado allowing an
22   unfair trade practice claim to proceed”); In re New Motor Vehicles Canadian Exp. Antitrust Litig., 350 F.
23   Supp. 2d 160, 180 (D. Me. 2004) (citing Rhino Linings USA, Inc. v. Rocky Mountain Rhino Lining, Inc.,
24   62 P.3d 142 (Colo. 2003)) (noting that “[a]lthough the word ‘unfair’ appears in” decisions about and the
25   text of the CCPA, the court “found no Colorado case where the court applied the term substantively to
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       The States claim that Meta only applies the tethering test, but Meta explained that the FTC-based test
28   and balancing test also required dismissal. Mot. 46. The States fail to address the balancing test.

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      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   broaden the CCPA’s reach to unfair, in addition to deceptive, practices”). None of the States’ authority
 2   contradicts these holdings. See AG Opp. 40.31
 3          Indiana. Indiana does not permit standalone unfairness claims untethered from misrepresentations
 4   or unlawful acts. Mot. 47. The States respond that “[t]he opinion Meta cites … did not discuss whether
 5   an ‘unfair act’ could be brought without a corresponding deceptive act.” AG Opp. 41. But that opinion
 6   was clear: Indiana courts “conflate the three words” of unfair, abusive, and deceptive, and “[t]he Court
 7   will follow the lead of the state courts by reading” this language “to include any act that is misleading to
 8   consumers or otherwise prohibited at law.” Crum v. SN Servicing Corp., 2021 WL 3514153, at *2 (S.D.
 9   Ind. Aug. 10, 2021). Contrary to the States’ suggestion, this case interpreted the current version of the
10   statute, not the pre-2014 amendment version. And the States’ purportedly contradictory authority does
11   not support their argument: it held only that an Indiana consumer protection claim could be brought even
12   when a Fair Debt Collection Practices Act claim could not (there, because the defendant did not qualify
13   as a debt collector). See Bank v. Huizar, 178 N.E.3d 326, 337 (Ind. Ct. App. 2021).
14          Kansas. The States do not dispute that “there must be some element of deceptive bargaining
15   conduct present” for an act to qualify as “unconscionable” under Kansas law. See State ex rel. Stovall v.
16   DVM Enterprises, Inc., 275 Kan. 243, 251 (2003) (emphasis added) (cleaned up). That alone is fatal, as
17   Meta’s motion explained. Mot. 47. The States argue in conclusory terms that two subsections of the act
18   are at issue. AG Opp. 41. But, even if the argument were sufficiently developed (it is not), as Stovall
19   explains, both subsections relate to deceptive conduct, and so cannot rescue the unfair practices claim.
20          Minnesota. Meta’s motion correctly pointed out that the Minnesota claim could be dismissed for
21   substantially the same reasons as the claims under Section 5. Mot. 47. The States apply a combination
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        The States contend in a footnote that these cases predate a statutory amendment that left “no doubts as
24   to whether a claim based solely on unfair or unconscionable practices may proceed.” Id. 40 n.46. If they
     are referring to subsection (1)(rrr), a court in this district recently rejected the argument that it created a
25   standalone unfairness claim under Colorado consumer protection law—and reinforced that such claims
     are not cognizable. See In re HIV Antitrust Litig., 2023 WL 3006572, at *2 (N.D. Cal. Apr. 18, 2023)
26   (“Nearly all [specific CCPA provisions] are examples of deceptive practices. Indeed, subsection (rrr) is
     the only provision to even reference ‘unfair’ conduct, and that provision itself is an elucidation of what
27   constitutes a ‘deceptive trade practice.’ … [The provisions indicate that they] proscribe only deceptive
     conduct and that nondeceptive unfair trade practices are actionable only if brought under other statutory
28   or common law causes of action such as the Colorado Antitrust Act.” (citations omitted)).

                                                           27
      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   of the Sperry test and the substantial injury prong of the modern Section 5 test. AG Opp. 41. As a result,
 2   the same considerations discussed above require that this claim be dismissed.
 3          Missouri. Meta’s motion correctly pointed out that the Missouri claim could be dismissed for
 4   substantially the same reasons as the claims under Section 5. Mot. 47–48. The States’ Opposition
 5   provides no argument to save the claim other than their general FTCA argument. AG Opp. 41–42.
 6          New Jersey. New Jersey courts have repeatedly held that for acts to be “unconscionable” under
 7   state law, they must be deceptive (or a similar formulation). Kugler v. Romain, 58 N.J. 522, 544 (1971)
 8   (“[U]nconscionability must be equated with the concepts of deception, fraud, false pretense,
 9   misrepresentation, concealment and the like.”). 32 The States respond that “Kugler’s reference to ‘equated’
10   does not mean that New Jersey cannot bring both misrepresentation and unconscionability claims.” AG
11   Opp. 42. But, regardless of what other claims are brought, an unconscionability claim under New Jersey
12   law requires deception or a similar concept—and therefore fails for the same reasons as the deception
13   claims. See Mot. 48. Indeed, in precisely this situation, another court applying New Jersey law dismissed
14   deceptiveness claims and then held, citing Kugler, that “Plaintiff’s allegations of an ‘unconscionable
15   business practice’ fail for the same reason.” Pullman v. Alpha Media Pub., Inc., 2013 WL 1286144, at
16   *5 n.3 (S.D.N.Y. Mar. 28, 2013), aff’d, 624 F. App’x 774 (2d Cir. 2015) (emphasis added). 33
17          Oregon. The States do not adequately respond to the two bases for dismissal in Meta’s Motion.
18   First, Oregon law limits its consumer protection statute to “selling, renting or disposing” services, and
19   inarguably Facebook and Instagram are not alleged to be sold, rented, or disposed of to consumers. Mot.
20   48. The States respond by referencing their argument about the parties’ “consumer transaction” dispute.
21   See AG Opp. 42. But the two are different: regardless of whether the provision of Facebook and Instagram
22   involves a “consumer transaction,” Oregon has limited its law further still. The States have no response
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     32
24      See Turf Lawnmower Repair, Inc. v. Bergen Rec. Corp., 139 N.J. 392, 414 (1995) (“The capacity to
     mislead … is the prime ingredient of all types of consumer fraud.” (cleaned up)); In re Insulin Pricing
25   Litig., 2024 WL 416500, at *34 (D.N.J. Feb. 5, 2024) (same); Gengo v. Jets Stadium Dev., LLC, 2018 WL
     4144686, at *5 (D.N.J. Aug. 30, 2018), aff’d, 776 F. App’x 86 (3d Cir. 2019) (“Although the CFA does
26   not define unconscionable commercial practices … the business practice in question must be
     ‘misleading.’” (cleaned up)).
     33
27      The States misread another portion of New Jersey law to claim that deception is not required. The
     provision merely states that the law applies “whether or not any person has in fact been misled, deceived
28   or damaged,” not that deceptive conduct is not required. N.J. Stat. Ann. § 56:8-2 (emphasis added).

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      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   to this more specific argument and do not cite any Oregon law on this point.
 2           Second, while the list of unconscionable acts under Oregon law is not exhaustive, courts have
 3   explained that “there is nothing to suggest the OUTPA is intended to cover … conduct that is not, in any
 4   manner, similar to conduct specified in the statute,” In re Hard Disk Drive Suspension Assemblies
 5   Antitrust Litig., 2021 WL 4306018, at *18 (N.D. Cal. Sept. 22, 2021), and that “it is clear from the
 6   examples that unconscionable trade tactics require an allegedly offending business to trick customers in
 7   some way such that the customers enter into a transaction with the offending business,” Barber v. Unitus
 8   Cmty. Credit Union, 2023 WL 34697, at *2 (D. Or. Jan. 3, 2023) (cleaned up). As the Motion explained,
 9   there is nothing similar to these enumerated acts alleged here. Mot. 48–49. In response, the States point
10   to only one provision: Or. Rev. Stat. § 646.605(9)(a). AG Opp. 42. But that provision relates to unequal
11   bargaining power in contract negotiations, and thus is not relevant here.
12      V.      THE STATES’ CONSUMER PROTECTION CLAIMS FAIL BECAUSE THEY DO
                NOT APPLY TO META’S ALLEGED CONDUCT.
13
             The States fail to state a claim under the consumer protection laws of 17 states because Meta’s
14
     users do not pay to use its services. See Mot. 49–54. Their Opposition cannot remedy this core defect.
15
             First, the States do not dispute that the reasoning in Indiana v. TikTok, Inc.—which considered
16
     whether a state consumer protection act could applied to a free social media service—would require
17
     dismissal under Indiana, Kansas, Virginia, and Ohio law, all of which limit consumer protection claims to
18
     conduct that occurs “in connection with a consumer transaction.” Mot. 50 (describing materially identical
19
     consumer protection laws of these States); see also AG Opp. 44–45. Instead, the States argue that the
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     TikTok court erred in finding that an exchange of money is necessary for a “consumer transaction.” AG
21
     Opp. 45. To the contrary, the court in TikTok correctly applied well-established principles of statutory
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     interpretation to conclude that a “consumer transaction” under the Indiana Deceptive Consumer Sales Act
23
     required an exchange of money. See Indiana v. TikTok, Inc., 2023 WL 8481303, at *6 (Ind. Super. Nov.
24
     29, 2023) (“[T]he State does not identify any authority for the proposition that ‘lease,’ ‘assignment,’ or
25
     ‘award by chance’ should be construed as not involving an exchange of money, such that ejusdem generis
26
     would support the State’s broad interpretation of the term ‘other disposition.”) (italics in original).
27
             The States also argue that TikTok is “out of step with the weight of” authority. But none of the
28

                                                          29
      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   inapposite authority cited by the States speaks to the dispositive issues in that case (or this one). See infra.
 2   Moreover, a recent decision applying California law demonstrates that TikTok decision was far from
 3   aberrational. In Ziencik v. Snap, Inc., 2024 U.S. Dist. LEXIS 12105 (C.D. Cal. Jan. 19, 2024), the court
 4   dismissed consumer protection claims against Snap, holding that users of Snapchat are not “consumers”
 5   because “they did not purchase Snap’s services.” TikTok is directly on point and consistent with cases
 6   addressing the application of consumer protection law to the use of free social media services.
 7           Second, contrary to the States’ claim, it is they who do “not meaningfully grapple with the
 8   particularities of each State’s consumer protection laws.” AG Opp. 43 (citing only six cases from a handful
 9   of jurisdictions and the text of just one State consumer protection statute (Georgia)).34 Notably, four of
10   the six cases the States cite are from jurisdictions Meta did not include in its motion on this ground—
11   Arizona, California, Ohio, and Washington—and thus interpreted provisions not at issue here. Attached
12   hereto as Appendix C is a chart establishing the requirement of a consumer transaction or a connection to
13   trade or commerce in each of the 17 States put at issue by Meta’s motion.
14           The only two cases addressing consumer protection statutes from jurisdictions included in Meta’s
15   motion cited by the States do not support the their argument. The States cite a quotation from the Western
16   District of Michigan’s decision in Action Auto Glass that “[t]here is no requirement that consumer goods
17   be sold or purchased” under the Michigan Consumer Protection Act (“MCPA”). AG Opp. 43. However,
18   the Action Auto Glass decision concerned the question whether a business competitor had standing under
19   the MCPA and held that a competitor does not itself need to purchase goods or services from its rival in
20   order to bring suit.35 That fact pattern has no relevance here.
21
     34
22      The States’ emphasis on the word “encourage” in Ga. Code Ann. § 10-1-392(a)(7), which Meta
     addressed in its motion, see Mot. 53, does nothing to alter the analysis. The Georgia statute defines
23   “[c]onsumer acts or practices” to mean “acts or practices intended to encourage consumer transactions.”
     Ga. Code Ann. § 10-1-392(a)(7) (emphasis added). “Consumer transactions,” in turn, is defined to mean
24   “the sale, purchase, lease, or rental of goods, services, or property, real or personal, primarily for personal,
     family, or household purposes.” Ga. Code Ann. § 10-1-392(a)(10) (emphasis added). Because the use of
25   a free service is not a “sale, purchase, lease, or rental,” it is not a “consumer transaction” as defined in §
     10-1-392(a)(10). Accordingly, the fact that “consumer acts or practices” includes conduct that
26   “encourages” consumer transactions does not help the States’ claims.
     35
27      Action Auto Glass v. Auto Glass Specialists, 134 F. Supp. 2d 897, 903 (W.D. Mich. 2001) (“[A]llowing
     business competitors to maintain actions under the MCPA is consistent with the intended purpose of
28   (continued…)
                                                           30
      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1          McCann Real Equities Series XXII, LLC v. David McDermott Chevrolet, Inc., 93 Conn. App. 486
 2   (2006) similarly provides no support for the States’ argument. In that case, the Connecticut appellate court
 3   upheld a directed verdict for defendant on the grounds that “a CUTPA violation may not be alleged for
 4   activities that are incidental to an entity’s primary trade or commerce.” Id. at 523. 36 That holding does
 5   not speak to the question whether provision of a free service qualifies as “trade or commerce” under
 6   Connecticut law, let alone the law of any other jurisdiction.
 7          Third, the States’ argument that “the relevant bargained-for exchange is consumers’ personal
 8   data,” AG Opp. 43–44, cannot save their claims. The States engage in no analysis of how the text of any
 9   state consumer protection statute supports their theory in the context of Meta providing a service that users
10   do not pay to use. To the contrary, the relevant statutes require either: (1) a “consumer transaction,” Mot.
11   49–51; see also TikTok, 2023 WL 8481303 at *6;37 or (2) are limited to actions “in the conduct of any
12   trade or commerce,”38 which requires “the sale of assets or services,” “advertising [or] offering for sale”
13   (or other materially similar language). 39 None of these definitions apply to a service users access and use
14   for free. The fact that Meta—like virtually every web page operator—collects information from visitors
15   does not convert that free-of-charge use into a commercial transaction. See Mot. 50–53; TikTok, 2023 WL
16   8481303 at *6 (rejecting argument that provision of user data constitutes a “sale or other disposition”);
17   Ziencik, 2024 U.S. Dist. LEXIS 12105, at *16 (rejecting argument that “exchanging personally identifiable
18   information for use of a free social networking application” made users “consumers”).
19

20
     protecting consumers … [W]here a competitor makes allegedly false statements about a competitor’s
21   product or business practices, the ultimate resulting harm is to the consumer, who may be swayed into
     purchasing an inferior product or paying more for the same product.”); see DIRECTV, Inc. v. Shouldice,
22   2003 WL 23200255, at *4 (W.D. Mich. Oct. 20, 2003) (“[T]he MCPA does make clear that the defendant’s
     acts must have occurred as part of an effort to further the sale or lease of goods or services to consumers.”).
23   36
        The McCann ruling was a limitation on claims that could be brought under the Connecticut consumer
24   protection statute—holding that activities incidental to an entity’s primary trade or business were not
     actionable—and was not an affirmative description of what activities could support a claim. See McCann,
25   93 Conn. App. at 523. The States’ argument that all activities within an entity’s primary trade or
     commerce are actionable under Connecticut law, see AG Opp. 43, misstates the court’s holding.
     37
26      See Mot. 50 (Indiana, Kansas, Virginia, and Ohio consumer protection statutes all limit claims to
     conduct that occurs “in connection with a consumer transaction”); see also Appx. C.
27   38
        See Mot. 51 n. 53 (citing statutes); see also Appx. C.
     39
28      See Mot. 51-52, n. 54 (citing statutory definitions of “trade and commerce”); see also Appx. C.

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      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1              The States cite two cases in support of their user data argument, both of which interpreted statutory
 2   provisions not at issue here and neither of which supports their theory. Brown v. Google involved
 3   California’s Unfair Competition law, which “provides a cause of action to any ‘person who has suffered
 4   injury in fact and has lost money or property as a result of the unfair competition.’” 2021 WL 6064009,
 5   at *14 (N.D. Cal. Dec. 22, 2021). That case did not address whether users permitting their data to be
 6   collected constituted “trade or commerce,” a “consumer transaction,” or any other statutory language
 7   relevant to the jurisdictions included in Meta’s motion. 40
 8              Similarly, State v. Google addressed the Arizona Consumer Fraud Act, a statute with materially
 9   different language from those at issue in Meta’s motion. See 2022 WL 223907, at *5 (Ariz. Super. Jan.
10   21, 2022) (“The Act addresses only deceptive or unfair practices employed ‘in connection with’ the sale
11   or advertisement of merchandise”); see also Ariz. Rev. Stat. Ann. § 44-1522 (prohibiting deceptive or
12   unfair acts or practices “in connection with the sale or advertisement of any merchandise” and omitting
13   any limitation regarding “trade or commerce” or “consumer transaction”). Further, the alleged fraudulent
14   conduct in that case involved “selling and advertising Google products, including smartphones,” Google,
15   2022 WL 223907 at *11, and thus was predicated on a pecuniary transaction.
16              Finally, the States are wrong that Meta’s interactions with advertisers could support their claims.
17   The “advertising” in question is not advertising by Meta for any of its services, but third party content
18   displayed on Meta’s services. See, e.g., Compl. ¶¶ 46-49. The alleged advertising thus is not a “consumer
19   transaction” between Meta and its users. See generally Appx. D. Nor is it “advertising … of … services”
20   that the States challenge as unfair or deceptive.41 Accordingly, such allegations cannot support the States’
21   claims. TikTok, 2023 WL 848130,3 at *6 (rejecting argument that DCSA should apply to TikTok “because
22   [it] profit[s] from consumers who use the platform”; DCSA “limited to the regulation of consumer
23   transactions and does not include all profit-generating activities”).
24        VI.      THE STATES’ CLAIMS FOR RESTITUTION FAIL AS A MATTER OF LAW.
25              The States’ claims for restitution fail because they do not allege any loss of money or property by
26
     40
27      Further, unlike in Brown, the States do not allege that Meta’s users suffered any economic injury
     because of their agreement to permit Meta to collect user data. See Brown, 2021 WL 6064009 at *15.
     41
28      See Mot. 52 n. 54 (citing statutory definitions of “trade and commerce”).

                                                             32
      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   users of Meta’s services that could be restored to those users. As a preliminary matter, the Opposition
 2   does not cite or otherwise address whether restitution is available in this case under the consumer
 3   protection laws of nine states—Indiana, Arizona, Georgia, Missouri, Nebraska, New Jersey, South
 4   Carolina, Washington, and Wisconsin. Compare Mot. 56–57, with AG Opp. 46–47. Accordingly, Meta’s
 5   motion with respect to these States is effectively unopposed.
 6           Further, the States’ argument that they can seek restitution based on “Meta’s revenue from
 7   advertising towards children,” AG Opp. 46, ignores the text of the relevant consumer protection statutes,
 8   which only permit courts to “restore” any “money or property” (or materially similar language). See Mot.
 9   54, 55 n. 56 (citing statutory language); ; see also Appx. E (chart setting forth requirements to obtain
10   restitution on a state-by-state basis). The authority the States cite from a handful of jurisdictions does not
11   support the States’ argument that “restitution may cover more than just the pecuniary value consumers
12   provided to Meta.” AG Opp. 46. For example, the States cite Delaware and New York statutory
13   provisions that describe the general enforcement powers of the Attorneys General, see id. at 46 n. 53
14   (citing Del Code Ann. tit. 29 § 2520(a)(5), (9) and N.Y. Exec. Law § 63(12)), but those sections do not
15   speak to the scope of remedies authorized under the specific consumer protection laws at issue here, nor
16   do their broad descriptions of the Attorney Generals’ enforcement powers overcome the specific statutory
17   language limiting relief to that “which may be necessary to restore to any person in interest any money or
18   property . . . which may have been acquired by means of any practice declared to be unlawful,” Del. Code
19   Ann. tit. 6, § 2523; see also N.Y. Gen. Bus. Law § 349(b).
20           The States selectively quote the North Dakota statute, which states that “the court may make an
21   order or judgment as may be necessary to prevent the use or employment by a person of any unlawful
22   practice,” but it is clear this language authorizes injunctive relief. 42
23           Similarly, the States claim that the Rhode Island statute “provides for ‘any … other relief that
24   may be appropriate,’” AG Opp. 46 n. 53 (citing R.I. Gen. Laws § 6-13.1-5(a)), but that language—a
25
     42
        See N.D. Cent. Code § 51-15-07 (“[T]he attorney general may seek and obtain … an injunction
26
     prohibiting that person from continuing the unlawful practice or engaging in the unlawful practice…. The
27   court may make an order or judgment as may be necessary to prevent the use or employment by a person
     of any unlawful practices or which may be necessary to restore to any person in interest any money or
28   property that may have been acquired.”).

                                                            33
      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   general statement that the Attorney General may seek relief authorized by the statute—does nothing to
 2   alter or expand the scope of relief authorized in § 6-13.1-5(c), which is limited to “orders or judgments
 3   that may be necessary to restore to any person in interest any moneys or property, real or personal, that
 4   may have been acquired by means of any practice in this chapter declared to be unlawful.” And the
 5   Pennsylvania case the States cite, Com. ex rel. Pappert v. TAP Pharm. Prod., Inc., recognized that to seek
 6   restitution the State would have to show a pecuniary loss caused by the defendant’s conduct. See 885
 7   A.2d 1127, 1139–40 (Pa. Commw. Ct. 2005) (“Hence, if the Court were to conclude that the Defendants’
 8   conduct constitutes a violation of the Law, and the Commonwealth establishes the loss of money as a
 9   result of the conduct, the Commonwealth may prevail in its claims.”) (emphasis added)).
10          The remedy the States describe—untethered from any pecuniary loss suffered by Meta’s users—
11   is disgorgement, an equitable remedy distinct from restitution. See, e.g., People v. Ernst & Young, LLP,
12   114 A.D.3d 569, 569, 980 N.Y.S.2d 456, 457 (2014) (“Disgorgement is distinct from the remedy of
13   restitution because it focuses on the gain to the wrongdoer as opposed to the loss to the victim”); Korea
14   Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1148, 63 P.3d 937, 946 (2003) (discussing
15   distinction between restitution and disgorgement). 43 But the States have not made any showing that such
16   a remedy is authorized by State consumer protection statutes that limit “additional orders or judgments”
17   to those necessary to “restore” to any person in interest “money or property … acquired by means” of the
18   allegedly unlawful conduct, or materially similar language. See Mot 55 n. 56 (citing statutory language).
19          Finally, the States are wrong that it would be “premature” to dismiss their restitution claims. AG
20   Opp. 47. The lone case the States cite held that “[i]t would be premature to reject [plaintiff’s] request for
21   restitution at this stage in the litigation” because the plaintiff alleged “that she was a direct victim of
22   [defendant’s] unfair competition, and that [defendant] may have unfairly obtained monies from her
23
     43
24      The authority the States cite in support of their assertion that “user data, or other non-pecuniary
     interests[] may be appropriate for restitution,” AG Opp. 46, do not support their argument. In Brown v.
25   Google, the court held that plaintiffs’ restitution claims survived a motion to dismiss because they had
     alleged that “Google’s conduct caused a ‘diminution of the value of [Plaintiffs’] private and personally
26   identifiable data and content’” on the theory that such diminution in value could be quantified. Brown,
     2021 WL 6064009 at *18. The States make no such allegations here. And Avery v. Indus. Mortg. Co.,
27   the other case the States cite, did not address the scope or availability of restitution. See 135 F. Supp. 2d
     840, 843 (W.D. Mich. 2001) (discussing definition of “actual damages” under provision of Michigan
28   Consumer Protection Act permitting private cause of action).

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      META’S REPLY IN SUPPORT OF MOTION TO DISMISS THE MULTISTATE ATTORNEYS GENERAL COMPLAINT; FLORIDA ATTORNEY
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 1   that should be restored.” Clark v. Prudential Ins. Co. of Am., 736 F. Supp. 2d 902, 925 (D.N.J. 2010)
 2   (emphasis added). That fact pattern has no relevance here—as discussed above, the States do not allege
 3   that Meta’s users suffered pecuniary losses that could be restored. And contrary to the States’ argument,
 4   courts in this Circuit routinely dismiss claims for restitution at the motion to dismiss stage. 44
 5        VII.    THE PI PLAINTIFFS’ CONSUMER PROTECTION CLAIMS FAIL.
 6           A.     The Count 7 Claims Fail Because the State Laws Do Not Apply to Plaintiffs’ Claims.
 7           The PI Plaintiffs’ claims under state consumer protection laws, like the States’ claims, fail for the
 8   reasons discussed above—those statutes on their face do not apply to Meta’s alleged conduct because
 9   Meta’s users do not pay to use its platforms. The PI Plaintiffs’ Opposition relies on identical arguments
10   and authority as the States’ Opposition on this ground, and cites to the States’ brief throughout. See
11   Plaintiffs’ Opposition to the Mot. (“PI Opp.”) (ECF 600) 2–5. Those arguments fail for the reasons
12   discussed above. See supra Part V. Further, the PI Plaintiffs make no meaningful effort to address how
13   the specific statutory language of any state’s consumer protection law applies to their claims here. For
14   example, their appendix includes the conclusory assertion that “Plaintiffs’ provision of data to Defendants
15   in exchange for access to their platforms are ‘sales’” under Maryland’s consumer protection statue, PI
16   Opp. 25, but ignores that the statutory definition of “sale” (which Plaintiffs do not cite) is limited to “[t]he
17   sale, lease, rental, loan, or bailment of any consumer goods, consumer realty, or consumer services,” Md.
18   Code Ann., Com. Law § 13-303(1). The PI Plaintiffs similarly fail to explain how the consumer protection
19   statutes of Vermont, Alabama, or Texas apply to their claims here—all of which limit private causes of
20   actions to “consumers.” See Mot. 58; see also Ziencik, 2024 U.S. Dist. LEXIS 12105 (holding that users
21   of Snapchat are not “consumers” because “they did not purchase Snap’s services”). 45
22
     44
23      See, e.g., Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844-45 (9th Cir. 2020) (holding consumer-
     plaintiff was not entitled to equitable restitution for violations of UCL and CLRA and affirming grant of
24   motion to dismiss claims for restitution); Stanford Health Care v. Trustmark Servs. Co., No. 22-CV-
     03946-RS, 2023 WL 2743581, at *4 (N.D. Cal. Mar. 31, 2023) (dismissing restitution claim under
25   consumer protection law because “[w]hile restitution may be an available remedy under the UCL
     generally, it is inapplicable under the facts pleaded in the SAC”) (emphasis added); Sparkman v. Comerica
26   Bank, No. 23-CV-02028-DMR, 2023 WL 5020269, at *12 (N.D. Cal. Aug. 4, 2023) (dismissing claim for
     restitution “because the funds that [plaintiff] lost were taken by unspecified third parties, not Defendants”).
     45
27      The PI Plaintiffs’ conditional request for further briefing should be denied. See PI Opp. 2 n. 4 Meta
     specifically identified the statutory limitations in each State’s consumer protection statute that bar their
28   claims. See Mot. 56–59. The PI Plaintiffs are not entitled to a do-over if they do not prevail.

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 1          B.      Count 7 Fails for the Same Reasons the States’ Deceptive Practices Claims Fail.
 2          The PI Plaintiffs base their consumer protection claims based solely on a theory of deceptive

 3   omissions, not affirmative misrepresentations or unfair practices. See generally PI Opp. 5–14. These

 4   alleged omissions fail to state a claim for the same reasons the States’ omission-based claims fail. The PI

 5   Plaintiffs argue that their omission claims are not barred by Section 230 because they are based on

 6   knowledge of the ways that the services allegedly harm children, not publishing conduct, id. at 5—but the

 7   ways in which they allege the services harm children is through publishing conduct. See supra Part II.B.

 8   As for Meta’s alleged statements regarding safety, PI Plaintiffs assert that they are not matters of opinion

 9   by citing to a series of securities fraud cases (in addition to some of the same vehicle defect cases the

10   States cited). PI Opp. 7–8. Like the vehicle cases, see supra Part III.A, and unlike Meta’s alleged

11   statements about “safety,” these securities cases all dealt with the circumstance where objectively

12   disprovable claims were made about the financial health of a company. 46 Financial solvency is a numeric

13   metric that basic accounting can assess. By contrast, concepts of “safety”—especially in the context of

14   communications services where the competing goals of fostering free expression and restricting sensitive

15   content must be balanced—are squarely matters of opinion upon which reasonable people can disagree.

16   Newcal, 513 F.3d at 1053 (“a statement that is quantifiable … may be an actionable statement of fact

17   while a general, subjective claim about a product is non-actionable puffery”); supra Part III.A.47

18          C.      Count 7 Also Fails Because Plaintiffs Do Not Allege Actual Reliance.
19          The PI Plaintiffs fail to allege that they actually relied upon Meta’s alleged omissions because they
20

21   46
        See Jones v. Corus Bankshares, Inc., 701 F. Supp. 2d 1014, 1027–28 (N.D. Ill. 2010) (statement that
22   company’s balance sheet was “fortress-like” was actionable when the company knowingly lacked
     adequate reserves and had stopped originating loans); In re Conventry Healthcare, Inc. Sec. Litig., 2011
23   WL 1230998, at *12 (D. Md. Mar. 30, 2011) (statement that health care plan was “fundamentally sound”
     was actionable when it knew it could not process new claims and had dwindling reserves); In re Apple
24   Inc. Sec. Litig., 2020 WL 2857397, at *16 (N.D. Cal. June 2, 2020) (statement that “business in China
     was very strong last quarter” was actionable because company admitted that it “‘saw’ troubling signs
25   coming out of China ... that were ‘particularly bad in November’”); see also In re Quality Sys., Inc. Sec.
     Litig., 865 F.3d 1130 (9th Cir. 2017) (defendants “did not just describe the pipeline in subjective or
26   emotive terms. Rather, they provided a concrete description of the past and present state of the pipeline.”).
     47
        Like the vehicle defect cases, City of New York v. Lead Indus. Ass’n, Inc., 190 A.D.2d 173, 176 (N.Y.
27   App. Div. 1993) (involving objectively unsafe lead paint), and Hauter v. Zogarts, 534 P.2d 377, 381 (Cal.
     1975) (involving a golf machine with representation that “the ball will not hit the player,” which “factually
28   describes an important characteristic of the product”), are inapposite. See supra Part III.A.

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 1   do not “plead some facts ‘to establish that they would have been aware of the [omitted facts], if [they]
 2   were disclosed.’” In re ZF-TRW Airbag Control Units Prod. Liab. Litig., 601 F. Supp. 3d 625, 767 (C.D.
 3   Cal. 2022). This is fatal to their claims in at least 21 states. See Mot. 60–62; see also Appx. F (chart
 4   setting forth reliance requirement on a state-by-state basis).
 5          The PI Plaintiffs’ Opposition largely misses the point. They argue that under Rule 9(b), they need
 6   not plead the specific time, place, and content of the alleged omission, and that reliance can be presumed
 7   when the alleged omission concerns a material fact. PI Opp. 11–14. But even accepting these points, they
 8   still must plead some facts demonstrating that they would have been aware of the disclosure had it been
 9   made. ZF-TRW, 601 F. Supp. 3d at 767. Plaintiffs argue that “it is reasonable to infer that Plaintiffs would
10   have become aware of the truth, had it been disclosed, given the intense media attention that whistleblower
11   Frances Haugen received when she shared Meta’s internal studies and other documents with the Wall
12   Street Journal.” But tellingly, no Plaintiff alleges that they themselves actually saw this Wall Street
13   Journal story at the time, or would have seen similar coverage even if it had occurred.
14          Moreover, the information that they allege Meta should have disclosed is essentially the same
15   information that they allege was in fact disclosed by the Wall Street Journal in 2021. See PI SAC ¶ 377.
16   Yet dozens of Plaintiffs here allege that they have continued to use Meta’s services up to the present,
17   when clearly they now are aware of the information that they allege Meta failed to disclose. See, e.g.,
18   Booker SFC at 4; Garceau SFC at 4; B.B. SFC at 4; Keiser SFC at 4; Koisol SFC at 4; Jansky SFC at 4.
19   This fact alone belies any plausible showing of actual reliance. See Haddad v. Merck & Co., 2022 WL
20   17357779, at *8 (C.D. Cal. Aug. 11, 2022) (“Plaintiffs’ claims [] fail because they continued to take
21   Singulair after the omission was cured.”). In short, the fact that Plaintiffs did not change their behavior
22   when the allegedly withheld information was disclosed effectively disproves PI Plaintiffs’ conclusory
23   assertions that they would have changed their behavior had Meta revealed the same information earlier.
24          D.      Count 7 Fails Because PI Plaintiffs Do Not Allege An Ascertainable Loss.
25          Meta’s Motion explained that Count 7 fails under the law of at least 18 states because the PI
26   Plaintiffs do not allege an ascertainable loss resulting from the alleged misrepresentations or unfair
27   practices. See Mot. 63–64; see also Appx. G (chart setting forth ascertainable loss requirement on a state-
28   by-state basis). The Opposition concedes almost the entirety of this issue. First, PI Plaintiffs narrow their
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 1   counterargument to a single type of alleged loss: cost of medical treatments and lost earnings or earning
 2   capacity (addressed below). PI Opp. 14. Second, they concede that “Plaintiffs do not allege that
 3   Defendants’ failure to meet their expectations is an injury unto itself.” Id. Third, they implicitly concede
 4   that they spent no money to use Meta’s services. See id. 15–16. Fourth, they concede that the claims are
 5   solely based on alleged misrepresentations or omissions. Compare Mot. 59 (characterizing claim this
 6   way), with PI Opp. 2 (characterizing it similarly), id. 5 (relying on this framing to overcome Section 230).
 7   As these concessions underscore, the PI Plaintiffs fail to allege ascertainable loss.
 8          To save the claim, the PI Plaintiffs focus only on costs of medical treatment and lost earnings or
 9   earning potential. As an initial matter, not all PI Plaintiffs allege that they underwent hospital stays, were
10   provided compensable medical treatment, or lost wages or earning potential. The Court at a minimum
11   should hold, based on the representation that these are the only ascertainable losses they put forward, PI
12   Plaintiffs without these alleged losses cannot pursue Claim 7.
13          But there is a more fundamental problem with Plaintiffs’ theory. “An ascertainable loss occurs
14   when a consumer receives less than what was promised.” Munning v. Gap, Inc., 238 F. Supp. 3d 1195,
15   1200 (N.D. Cal. 2017) (cleaned up) (applying New Jersey law). Claim 7 is predicated entirely on alleged
16   misrepresentations and/or omissions. Accordingly, “[t]he question is whether plaintiffs have adequately
17   pleaded any ascertainable loss as a result of defendant’s alleged misrepresentation.” Paul v. Providence
18   Health Sys.-Oregon, 237 Or. App. 584, 602 (2010), aff’d, 351 Or. 587, 273 P.3d 106 (2012) (emphasis
19   added) (cleaned up). 48 Yet here, the PI Plaintiffs do not identify any ascertainable loss that resulted from
20   the alleged misrepresentations. In fact, one of the PI Plaintiffs’ cases explains this point. There, the
21   plaintiffs were in a bus accident and alleged that statements by the bus company about bus safety were
22   misleading. M.T. v. Saum, 7 F. Supp. 3d 701, 703 (W.D. Ky. 2014). Although the court said that the
23

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     48
        See also, e.g., Abbott v. Golden Grain Co., 2023 WL 3975107, at *4 (E.D. Mo. June 13, 2023) (“The
25   ascertainable loss element incorporates Missouri’s ‘benefit of the bargain’ common law fraud remedy ....
     The benefit of the bargain is the difference between the value of the product as represented and the actual
26   value of the product as received.” (cleaned up)); Robey v. PVH Corp., 495 F. Supp. 3d 311, 318 (S.D.N.Y.
     2020) (In misrepresentation cases, courts “have required plaintiffs to establish that they suffered an
27   ascertainable loss either by demonstrating that they suffered an ‘out-of-pocket’ loss [such as repair costs],
     or that they lost the ‘benefit-of-their-bargain’ by purchasing a product that was ultimately worth less than
28   the product that was promised.” (cleaned up)).

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 1   plaintiffs’ personal injuries may be compensable, it held that the alleged misleading statements did not
 2   “cause” those injuries. Id. at 706. None of Plaintiffs’ cases addresses a materially similar situation, and
 3   most did not involve alleged misrepresentations at all.
 4      VIII. THE PI PLAINTIFFS’ COMMON LAW CONCEALMENT AND
              MISREPRESENTATION CLAIMS LIKEWISE FAIL.
 5
              As with their consumer protection claims, the PI Plaintiffs all but concede that their common law
 6
     misrepresentation claims are based solely on a theory of omissions, rather than affirmative
 7
     misrepresentations. The claims fail for the same reasons as their deceptive practices claim: (1) their
 8
     omission claims are barred by Section 230, (2) they do not adequately allege reliance on any omissions,
 9
     (3) alleged omissions in the context of the statements about “safety” are non-actionable opinions, and
10
     (4) alleged omissions in the context of statements to Congress are protected by the First Amendment. See
11
     Mot. 65–66. The PI Plaintiffs’ Opposition on this point largely rehashes arguments made elsewhere, PI
12
     Opp. 16–20, which are unavailing for the reasons discussed above. Supra Parts II.B, III.A, III.D, VII.C.
13
              Finally, in at least 18 states, a claim for “negligent omissions” is not cognizable. See, e.g., Keshish
14
     v. Allstate Ins. Co., 2012 WL 12887075, at *4 (C.D. Cal. Oct. 19, 2012) (“[T]he tort of negligent
15
     misrepresentation extends only to affirmative statements,” not “negligent nondisclosure or
16
     concealment.”); see also Appx. H (chart listing jurisdictions).
17
        IX.       FLORIDA’S CLAIMS SHOULD ALSO BE DISMISSED FOR LACK OF
18                JURISDICTION.
19            Florida does not dispute that its allegations do not establish specific or general personal jurisdiction
20   under the Constitution. Mot. 66–69. Instead, Florida argues that its COPPA claims give the Middle
21   District of Florida personal jurisdiction over Meta because COPPA contains a provision authorizing
22   nationwide service of process. AG Opp. 47; 15 U.S.C. § 6504(e)(2). This argument fails for two reasons.
23            First, Florida alleged in its complaint only that “Meta is subject to the jurisdiction of Florida courts
24   under § 48.193(1)(a), Fla. Stat. (2023)”; it did not allege that personal jurisdiction was based on 15 U.S.C.
25   § 6504(e)(2). See FL Compl. ¶ 18 (alleging that Meta “intentionally avails itself to the Florida market”
26   (emphasis added)). At a minimum, Florida should be required to re-plead—at which time, Meta would
27   move to dismiss the COPPA claim on grounds of improper venue.
28            Under COPPA, venue is appropriate only where the “defendant resides” or where “a substantial

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 1   part of the events or omissions giving rise to the claim occurred.” 28 U.S.C. § 1391(b); see 15 U.S.C.
 2   § 6504(e)(1). Florida does not allege that Meta resides in Florida—nor could it. And the Complaint lacks
 3   well-pled allegations that a substantial part of the events or omissions giving rise to the COPPA claim
 4   occurred in Florida. See Mot. 66–69. Thus, venue for the COPPA claims is not proper in Florida.
 5          Second, even if Florida needed to establish only minimum contacts with the United States in order
 6   for this Court to exercise jurisdiction over its COPPA claims, that would not establish jurisdiction over
 7   Florida’s consumer protection claim. Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174,
 8   1180 (9th Cir. 2004) (“Personal jurisdiction must exist for each claim asserted against a defendant.”).
 9   Florida’s opposition makes no attempt to argue that otherwise. Indeed, the Opposition waives any
10   argument that applying Florida’s long-arm statute to authorize jurisdiction over the named Meta
11   defendants would be consistent with the due process protections of the Fourteenth Amendment.
12   Accordingly, at a minimum, Count II of Florida’s complaint should be dismissed.
13          The doctrine of pendent personal jurisdiction does not change this result. That discretionary
14   doctrine may be applied only where the pendent claim “arises out of a common nucleus of operative facts
15   with a claim in the same suit over which the court does have personal jurisdiction.” Action Embroidery
16   Corp., 368 F.3d at 1180. Here, Florida’s COPPA claim does not arise out of the same nucleus of operative
17   facts as its consumer protection claims. Florida’s COPPA claims are narrowly focused on two questions:
18   (1) whether Instagram and Facebook are directed to children and (2) whether Meta had “actual
19   knowledge” of under-13 users. Complaint (ECF 1) ¶¶ 79–107, Office of the Attorney General, State of
20   Florida v. Meta Platforms, Inc., Case No. 4:23-cv-05885 (N.D. Cal.). By contrast, its consumer protection
21   claims focus on (1) a broad array of “design features” that allegedly “induce young users’ harmful,
22   extended and compulsive social media use” and (2) allegedly deceptive statements by Meta regarding the
23   safety of its services and its commitment to the well-being of users. Id. ¶¶ 26–78.
24                                               CONCLUSION
25          The States’ claims, as well as the PI claims asserted in Counts 7 through 9, should be dismissed.
26

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 1   Dated: March 1, 2024                             Respectfully submitted,
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